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           Dave       C.
                                                                          8/29/2017                 .    O       Updated             review
           Tarr1pa,    FL
                84 friends              2 pilotos

            Q   1 review
                                            have         a canned                    response              to the            Better         Business
           G    2 photos        They
                                Bureau             which          will     just        repeat           the      contract             terms          and          that
                                you      did       not     take          out      all of the             other          coverage.                Their
                                workers            destroyed                   new         floors        and        they        used         a fumiture
                                repair         company's                  estimate                 to base           the       claim        on.          They
                                asked          me for            a repair              invoice           from         my       flooring          company
                                then       discounted                    it by 50%.                  They           settled          for    50 cents                on
                                the     dollar,          mailed           the        check,             and      if you         cash        it, they            claim          it
                                releases            them           from         any          and        all claims.              Funny            that         they       put
                                that     little     footnote               in faded             ink hoping                   you      miss         it.     READ
                                THE        CUSTOMER                           REVIEWS                    AND THE                   NY      BBB
                                COMPLAINTS                             BEFORE                 HIRING                THIS        COMPANY.                          You
                                don't       have         to just          take         my       word          for     it.     No idea            how           they
                                have        an A+           rating            with      so      many           complaints.



                                  Q        Useful          1                    Furnly                           Cool




                                                                          8/9/2017                 . Previo             s review

                                Used         Flatrate             to move               from        NJ to FL on a family
                                recommendation.                               The       night           before          our      move         we          updated
                                the      inventory              list     and         the      estimate              jumped              by almost
                                double.             Because                   they      did     riot      send          someone               to the            house
                                like     other        companies,                       the     rate       was         not      guaranteed                   if the
                                number             of boxes               rose         as      we       got      closer         to our        move              out
                                date.  They  sent a truck   that was too small   for the move                                                                             out
                                and  we wound    up leaving    items or packing   our personal
                                cars with the items that did not fit in the truck.    Our last
                                mattress            was           wrapped               in plastic               and         placed         between                the
                                truck       and       the        lift gate            outside            in the         rain       because                there          was
                                no      more        room.              Stored           with        them            and       they       delivered                to
                                Florida           about           a month              later.           Items         came           ofFthe          truck         tightly
                                wrapped             on         pallets          with         no care           taken           for    boxes              marked

                                fragile:          glass,          or the          weight            of items.                Crew          could          not stop

                                apologizing                 for     the        damage               and        condition              of our             belongings
                                and boxes.                  Thankfully                  we      did       riot      take        much         furniture                 with
                                us.      They         lost        my daughter's                         bicycle,            ripped         the      wheels               off    a

                                heavy          duty        tool        chest,          crushed                fragile         boxes,          and          the
                                move-in             crew          deeply             scratched                 10 new            floor       boards             we just
                                installed           a week               earlier.            They         dragged               a treadmill                 and        desk
                                around            gouging              the      floors          through               the      wear        layer.           We
                                submitted                a claim              within         2 days            with         photos         and           a full
                                explanation.                    Claims               departmerit                 told        me I could                  use      my
                                flooring           contractor                  but      that        no claim                would          be approved
                                until      their      own         contractor                  verified           the        damage.                We had                to


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            wait     another             week           for     their      furniture            restoration               company               to
            come        and        verify        the      flooring           damage                and       the     contractor
            spent       5 minutes                 in our         home,            looked           and       said      the     would           try
            to touch          up as best as possible                                  vs replace.                  Never         even
            asked          the brand  of the flooring.                                 Claim           was      settled          for    50
            cents       on the           dollar         as they           only        covered            us for        .60/Ib          based
            on damaged                    and      lost        items.            So    my       daughter's              $400           bike
            was      covered              at 0.60/lb.                The     flooring              estimate            from       their
            contractor              was        to touch            up arid            fill the       scratches               rather          than
            replace          the        boards           as     needed             so their            estimate           was         half     of
            the     actual         cost.          Per     their         instruction,               I appealed                my claim
            and     also         called         their         contractor              for    a copy           of the         estimate.
             Contractor              would          not         provide           a copy           and       confirmed               they
            would          not     be      replacing             floor      boards             and       were        not      a flooring
            comparly.               Just        furniture              repair.         After       several           attempts             to
            explain          and        appeal           this     to Flatrate                Executives,               my        appeal
            was      denied             and       I was         told      to expect              the     original           settlemerit
            check.           The        cost      of Flatrate               versus             Mayflower             and       Allied
            was      within          a few        hundred                dollars            at the      end        of the      day        and
            act     ally      cost        me      more          after       the       damage             and        claims
            process.              We move                every           5 years             and     this      was        by far       the
            worst       move            ever.       Don't          try     to save             on the         front-end             as you

            may        wind        up     paying              more       after        they       deliver.            Will      be

            posting          photos            as well.            They           have         since         deleted          all of the
            customer               posts        on their           Facebook                  page        unless           they       were

            siriging         praises.             I can't         even           imagine            if we      had        moved        more
            valuable             items.          The          crews        moving              in and         out    were         all hard-

            working           and        nice      people.               Accidents                 happen           and       they      were

            very       apologetic.                Everi          they       expected                their      home          office
            would        take        care        of things.               Sad         to say,          but    expect          50 cents
            on the         dollar         at best.




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           Sarnuel     L·
                                                                         10/22/2018
           Pasadena,        CA
                                 If I can        give         a zero,         I would!!
           4   3 friends

           O   9 reviews
                                 Flatrate            is extremely                bad        in how         it treated          us in this          move.
           G   7 photos
                                 The      sales         person            mistakenly                put     our       address         to Queens,
                                 New       York.        when            the      move         it has       done        for     us a few            month
                                 prior      went        to the          same           address            in Los Angeles.                   The     boxes
                                 ordered             was       insufficient.                We contacted                 him       many       times
                                 about         it but      no response.                     When          the     movers           arrived,         we
                                 spent         so     much         time        packing.             AII these          could         have      been
                                 avoided             if the       sales       person           would         done        his job        right.
                                 Then          the    move          was        horrible.            Furnitures            like     piario      stand
                                 and      frames           were          broken.            It took        Flatrate          three     months            with
                                 multiple        follow-up                to get        them         to compensate                    for    the     piano
                                 stand.         Worst    of all,              Flatrate         only        agreed         to pay        $106         for a
                                 pict      re frame              that     cost         at least       $217.           Flatrate        claimed            that   it
                                 has      fulfilled        its obligation                   under      federal          law      by    multiplying
                                 the     weight         by the            cost        per    pound.          Well,       if that      is the       case,
                                 do      not    let them            transport               any     jewelries           or anything               that     is
                                 lightweight               but     costly.            We meritioned                   to the     sales        person
                                 what          needed            to be moved.                  He did           not    mention          arlything
                                 about         paying            extra        to add         protective           coverage.
                                 Do NOT              go with            them!!         There         are     many         other        moving
                                 companies                 that     are       better         and      more        honest.




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           Man       M.
                                                                          3/12/2018
           Boston,        MA
            9    65 friends
                                 HEADLINE                   HERE              IS THEY              WILL          BREAK                YOUR
                                 FURNITURE                   AND              THEN             NOT PAY TO REPLACE                                        IT.
            O    6 reviews

                                 DO NOT USE                       THIS          MOVER.


                                OK.       so.      here      is the           deal.        Had          a move             to Miami           from         NYC.
                                Chose           to Use        the         same           movers               that     I Used          when          I moved               to
                                 NY.    So went              back          to Flat           Rate.        Talked            and       Did on         a number
                                of other           options.             Flat        Rate        did      not     come           back         with     the       Dest
                                bid     BUT   they            had         the       history            with      me so I went                  back.           They
                                did     a good job                the      last      move.              Now          I am      a crazy          mover.           I
                                over-orgariize                    everything                 and        pack         all myself.             So the            day        of
                                the     move           came.            They          were        LATE           to the           move        by 45
                                minutes.             In lower             Manhattan                    that     is a HUGE                  problem
                                between              elevators                and       street          parking.            It made           for a very

                                lorig       day      and      left       me      riegotiating                  and         begging           the     building              to
                                allow  0s to keep the elevator                                         over      our        allowed           window.
                                (STRIKE     1). When we arrived                                          the     move             in seemed              to be

                                going        well.        until      I started             to notice             some           glass         items        coming
                                out     broken.             I didn1           think        much          of it at first             (its a move...
                                these        things          happen)                and        then       a wood              and        leather         armchair
                                came         out       and        it was         (I'm        not exaggerating                         here)         brokeri          to
                                pieces.           and       I mean             broken            in literal           pieces.The                   arm      was           in
                                3 pieces            the      leather            was        completely                  marked              up and gouged
                                and       the     chair       was
                                                        totally  Unsalvageable.The                                                          chair had
                                been    packed    by the    movers   (apparently    not even  close  to
                                protected).    I was told I would      have to file a claim  and their
                                claims          department                    would          be        back      in touch             with     me.        I want
                                to be clear               here.          I am       very        organized.                  We took            a number                   of
                                photos            at the      moment,                  files      a paper              report         then      and        also
                                contacted               my        mover          directly             to tell        them         what       had      occurred.
                                When            I finally         got     a contact               back          from        the       mover         claims
                                department                  2 weeks              later         alter      I kept     calling    to follow Up
                                (STRIKE                2) they           decided             I would            need    to fill out the secorld

                                battery           of forms              along         with       photos              and      links        to the     original
                                items        showing              the      amount                paid,        etc,     etc.       Here        I am        again

                                doing        all of the            legwork              for the           items         that       they       broke.           OK
                                fast    forward             it has         been          1 arid          a half        months.               Every        week            I
                                am    calling           to get           an     update.            I am         told       I would           receive           an
                                email      later        today    (on Friday)...                          no email.                I call     today        am
                                hastily         told     I would    receive    an                        email         in an        hour       and       ((ding))
                                the     email          arrives           stating          that         they      would            be willing          to pay
                                 1/3rd!!!         of the      value             of this         new       chair         (((A       THIRD)))).               Get       the
                                 Fuck       out      of here.             You       have          got     to be kidding.                     SO the            lesson
                                here        folks       is AND            LET         ME BE VERY                           CLEAR             If you        have

                                anything             of value             DO NOT USE THIS                                   COMPANY                   TO
                                MOVE            YOUR              ITEMS.             They  simply  DO NOT give one
                                simple          shit      about           you       or your household. AND with that,                                                I
                                am      out.       Good           luck.


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            Sasa     M.
                                                                                         6/26/2018
           Westside,          Houstor1,   TX
                                                Used         them           for    our     latest            relocation              from       London             UK to
            9   D friends
                                                HUston          TX.         Everything                  seems             ok    and        smooth           until      we         have
            O   1 review
                                               received              our     boxes     in Houston                         back        in February     2018.
                                                Even         now,         5 months              later          we      are      still trying  to figure    out
                                               what         happened                with        some            of our          items.         Flat      Rate        non

                                               existing            customer               service              simply          didn't       even         try    to provide
                                               answers.              We were               not          looking           or expecting                  any
                                               comperisation                      but just            a sheer             explanation                  what        and       why
                                               has        happened.                 Most            of missing               items         have  orily             sentimental
                                               values          for     us.        We are moving                        back          and    forward             every          3-4
                                               years         and       this       is the        first        time      that      we        have        so      miserable
                                               experience.                   Absolutely                 horrendous                   experience.


                                               Sasa          Milicevic
                                                Houston              TX




           Natalie        R
                                                                                         12/20/2018
           Charlotte,         NC
                                               At first       when            I choose               FlatRate             I was         very       excited          about           the
           9    D friends
                                               service         I received.                 Now           that         I moved           customer               service            has
                                               been         horrible.             This      was          my         1st    long       distance              move         and        it
                                               was      j    st horrible.                I am         missing             a piece           of f rniture               that       was
                                               dear         to me         only      item        I had          of my           mothers            and       lots     of things
                                               broken          although              boxes              said        fragile       ori them.              As well             as    an
                                               entire        extra          large        box        filled      with      all my shoes new                          shoes           as
                                               well     as worn.                  I have        reached                out to my rep asking                            for     an

                                               inventory             list     as those               same           items        as added               to my          move
                                               and      they       charged               me for them                      BUT        NEVER              RECElVED!
                                                He replied                back       a month                  later       and     I am         still    waiting          for      my
                                               list   9 days           later.        I rIeed            to submit               my      claim          ASAP         as this
                                               move          was       in OCTOBER                            it is now          going        into       Jan.        Please               be
                                               a little      bit     more       caring              for the           property           of others             treat      them
                                               as     if its your            own.    Very               upset!!




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           Stacia         H-
                                                                                         11/14/2018
           Manhattan,           NY
                                                  Worst       experience                 - DO NOT                 USE!          I used         them         for        a long
           ¾      D friends
                                                  distance           move          and        in the       process             they      shattered            a large
           O      1 review
                                                  mirror,      broke            multiple           pieces         of fumiture                and     delivered
                                                  someone             else's          large        flat    screen         TV to my             house              by
                                                  accident           and        failed      to deliver            some          of my         boxes!              The

                                                  company             basically             harassed              me     to get         the      TV     back,            but
                                                  won't      help         me with           my       missing           and      broken             items.         They
                                                  have      sent          me     from       person          to person,                 department                 to
                                                  department               without            even         an    apology!               It has       been         nearly                 4
                                                  months           and      I still      have        no answer.                I am APPALLED                            at how
                                                  torrendous               the        customer             service         is for       such         a large
                                                  company.                Inexcusable.                    It blows        my          mind     they         are        still        in
                                                  business            and        getting         away           with    this     type        of treatment                      of
                                                  their     customers.




           Mark      D.
                                                                                         11/14/2017
           Manhattan,          NY
                                                          4 photos
           9      0 friends

           O      12 reviews
                                                  OVER        $9.000             DOLLARS                   OF      DAMAGE.                   Flatrate         does              not
           G      4 photos
                                                  want      to pay         for the          damage              they     caused.              Chipped                  my
                                                  Italian     kitchen            island        along        the        edge.          They         broke          other
                                                  objects          too.        Pics      included.              The      kitchen          was         not     being
                                                  moved        and         the     claims           department                 has      gone        silent.             Sadly,
                                                  the     salespersori                and      movers             were         told     repeatedly                to stay

                                                  away       from         the     kitchen.




                       All     (160)   Mark's   Photos       [4]




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           Nicole      C.
                                                                                   8/8/2017
           New York,        NY
            4   2 friends
                                              ONE        LARGE              BOX STOLEN                      !!!!      :(

            O   27 reviews
                                              this     was      the       worse          move       ever,          I never         imagined                that     people
                                              that      I contract          could         come          into       my      house        and        still     one     large
                                              box       and     they       do     nothing          about           it. Worse            customer              service.
                                              Worst       everything.                  STAY       AWAY.             I will       be contacting                    BBB.




           Megan       R.
                                                                                   7/2/2018
           Brooklyn,        Brooklyri,   NY
           4    D friends
                                              We hired              FlatRate            Movirig         to both            pack     and       move            us from
                                              Brooklyn              to Manhattan.                 I would          not      hire    this     company                 to
            O   1 review
                                              pack       your        materials.      They            piled          multiple         breakable                items
                                              into  boxes     with              no padding.
                                                                                  When     we expressed       concern,
                                                                                       professionals"
                                              the  mover      told us that "they are                       and we
                                                        "trust"
                                              should               them. Of course,  we wound         up with many
                                              damaged               and     broken            materials.            Some           of these           items          were

                                              family      heirlooms.               For        example,             they       moved          a wooden
                                              bench           and      broke       off    a piece         of the            leg of the          bench,            which
                                              cannot          be found.            Picture         frames             are      scratched             Up and
                                              broken          at the       edges.          They         crushed             a plastic           bin that           had
                                              viritage         cameras             in it. They           scraped              up a viritage                 record
                                              player.


                                              When        I called          to express             these           caricerns               I was       told       that
                                              someorie              would         get     in contact           with         me     so    that       I could
                                              submit          a form        for    damages.               I had         to call      Dack        three            times
                                              and      talk     to three          different         people              before       I got      the        form.
                                              Overall           this    was   a very              bad     experience.                   I would            highly
                                              discourage               people   from              using        this        company.




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           Kai    T.
                                                                                    11/18/2015
           Manhattan,         NY
                                                           6 photos
           9     O friends

            O    16 reviews
                                                  Paid       these      guys      almost          $7000    to move    my expensive    IT
           G     6 photos                                                                           "Coverage"
                                                  equipment.              Paid     extra        for                irl case they broke

                                                  any      of my      expensive              equipment.                 They        did    over      $8500            worth
                                                  of damage             and      after       WEEKS               of waiting          for    them        to respond
                                                  to me       about       a settlement,                  they        finally      sent     a letter        rejecting
                                                  all my       IT equipment                  and
                                                                                            o1Teririg                   me      $950       to settle.        I am

                                                  currently seeking                 other means       of recovering                           my      money            and
                                                  will NEVER    use               this company       again.


                                                  I feel     cheated,          ripped          off,     lied     to,    and       given     the      run    around.           I
                                                  would        have       come         out     ahead            financially          to throw         my
                                                  belongings            in the      Hudson               river       and       re purchased         everythirig
                                                  when        I arrived        here.         I have          never         been      as dissatisfied       with
                                                  service       in all my         life.      Worst           movers            on the      planet.


                                                  Do not        be fooled          by the             lies     and     slick      marketing           tricks.         They
                                                  will     destroy      your       belongings                  and      offer      you     a pittance           for
                                                  them.        DO NOT HIRE                     THESE              PEOPLE!!!




                  All (160)    Kai's Photos (6)                                                                                               Searchphotos...




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           Sunita          S-
                                                                              3/8/2018
           New      York,       NY
                                      This      company               is the      worst          at customer                  service.             I moved
           ¾       93 friends
                                      back        in October              of 2017.          Duririg           my       move           an      antique             art
           O       190 reviews
                                      deco        mirror        was       broken           by them.                           agreed            that      it was
           G       49 photos
                                                                                                                 They
                                      entirely  their fault.                   Here's       where            the       BS       starts.They                   ask         me
           Elite    '2020
                                      to submit    pictures                    of the      mirror           broken            and       previous               to

                                      being        broken.          Also,        they      wanted             camps             for the          claim.             I
                                      submitted            all of their            requested                documentation                        as well.
                                      Withirl      the      time         frame         requested.                They         made            a decision                that

                                      my      mirror       was        worth        only        $252         and        that     a check                would            be
                                      sent.This            was        back        in December                    2017.          I have           yet     to
                                      receive          that.      Additionally,             I filed         an     appeal             beca             se the
                                      mirror       was         clearly         worth       more.            I have        to date,             left     over        a
                                      dozen        messages                   to resolve          this.         I've     also         spoken            to no less
                                      than      5 people,             still    have        not     received              the      initial       check,              nor      a
                                      response             to my         appeal.           Its now           5 months                 later     and       still
                                      riothing.          Flat     Rate,         you      guys         are     horrible.               I WISH            I could
                                      give      ZERO            stars.        Don't      use      this       company!!!!!




           Ruth       A.
                                                                              12/22/2017
           Sea Ranch,            CA
                                      Used        this     moving             company             in September/October                                    they
           4       25 friends
                                      were        recommended                     by a friend                in the       building.                I
           O       79 reviews
                                      eXPeriericed                some          issues         with      this      company.                   First      of all
           G       31 photos
                                      their     packers            were     not very good                        at wrapping                  fragile          items,
                                                                                                                        "lost"
                                      several          of my          items were    broken.                      They                         a box,          was
                                      riever       delivered             to my         home        in Califamia.                      Then         it was
                                      discovered                box      was      in warehouse                     in New             Jersey.           Got         email
                                      from      move            coordinator             that      she        had        confirmed                box
                                      delivered    to my apartment,       except     it wasn't. When
                                      contacted     coordinator    promised      call back asap       regarding
                                      issue.    No call back.   Called   company        this morning.,
                                      disconnected                 three         times!,         tried       to leave            msg          on
                                      coordinators                phone,          of course              mailbox              full,    tried          to speak
                                      with      supervisor               of department.,                    discorinected                     after      being            on
                                      hold.       I sense          a pattern            here?




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           Michael         F.
                                                                                           3/11/2015
           New     York,    NY
                 22 friends                          G      5 priotos

           O     15 reviews
                                                     I hired       flatrate         to move                me from            the     village        to chelsea.                   8
           916       photos
                                                     blocks         . The        movers              for    the      most           part     were         fine.          I have
                                                     moved          6 times           in NYC               and     more          than        10 across              the

                                                     country


                                                     They       sawed           a very           expensive                sofa       in half        they          said     to get           it
                                                     out     the    door        but      it had         been        delivered               and      made           it irito      the
                                                     apartment             fine.         They        refused             to   pay       and       only.      offer         60
                                                     cents         per    pound           for     insurance               which            in NYC          is a ridiculous
                                                     amount.             I am      posting             pictures           too.       They         also       broke          a large
                                                     frame.          I will     never           use        them      again           and      encourage                   others
                                                     not     to either




                   All (160)       Michael'sPhotos    (5)                                                                                                                                   Search photo




           David      C-
                                                                                           9/21/2018
           Manhattan,           New York,   NY
                                                     Crooks.             Some         insurance                  guararitee             you       have.           You      broke
           9     D friends
                                                     the     leg     clean         off    my      Hans            Wagner             chair      that       cost
            O    1 review
                                                     $3,368.45.                I sent         numerous               emails           and      called         multiple
                                                     times         to appeal             my      claim           settlement                for which          you         gave
                                                     zero      reimbursement.                          I never           received            a response                  or even
                                                     reached             the    voice           of a human.                   Because             this     is still       within
                                                     the     realm        of small              claims           court        in NY,        you     guys          just     ride        it
                                                     out.      Great          technique.               Best        of luck          to you        and       erijoy         your
                                                     conscience                 when          you       go to sleep  at night,   but don't                                  worry
                                                     you're                                            - that's more   important    to you                                  than
                                                                    making            money
                                                     your      relationships                  with         your     clients.




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           michael      R.

           Manhattan,        NY
                                                            6 photos
           9    2 friends

            O   2 reviews
                                                    I am                     disappointed                      FlatRate.                             was
           S    6 photos
                                                              deeply                                     by                          Booking                     very
                                                    simple,         the     phone          rep    was       great        and        the    moving         crew          that
                                                    showed           up in Brooklyn                   was     lovely        but      now      that    I've
                                                    received       my boxes                 in my new home,         I am                   SHOCKED                   by
                                                    their     Utter disregard                and unprofessionalism.


                                                    Multiple         boxes          were        damaged             beyond           Delief        with     cut     open
                                                    tops      and     or hastily           re-taped           together.           Many           of items         irl the
                                                    boxes       are       damaged               and     missing           and       the    move-in           crew's
                                                    excuses           were      pathetic.             Further,         flatrate's         pay-up-front
                                                    system          leaves          me     with       no way        to pursue             arly     kind     of
                                                    recourse.


                                                    BEWARE                potential         c     sterners,         everything             seems          great,
                                                    Until     it's too      late.




                All (160)    michael's Photos (6)                                                                                                Searchphotos...




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           Elliot      1.
                                                                                         7/5/2016
           Fort     Lauderdale,      FL
                                                              19 photos
           g ; 643 frierids

           Q      99 reviews
                                                       Run,       go    to another            company.              We moved           from      NYC too
                  408 photos
                                                       Florida,         when        I tell    you      every       box    was     open        arid    everything
                                                       was    missing          . From          kids     shoes         to kids     bike.      My wife's
                                                       clothing    and         her     shoes          . This      company         gave        us a run
                                                       around          for   3 weeks           and     only      gave      us $500        for    everything
                                                       that    was       missing.            Our     shipping         coast      was      1300       and   they
                                                       gave       us 500       just     to Seattle             . I will   post    pictures       and       show    0
                                                       how     everything              came          to my       house.




                    All (160)   Elliot's Photos (19)                                                                                         Searchphotos...




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                   Chad    D·
                   New York,      NY
                                       QQ                                6/27/2017

                                       I would        not     recommend               Flat    Rate.      In addition   to damaging
                   9 4 1 friend
                                       furniture        and      not    mentioning            it (to    be expected?)      they did
                   O   34 reviews
                                       not   follow         through      on things         they        had agreed     to and lied
                                       about       it. Then.       when         the    move    was        all over   and    I had

                                       generously             tipped,         the   foreman        of the    move    insisted       that       I

                                       tip more!        I think        this    was     because          I handed     each    man         his
                                       own  tip rather than handing       it to the foreman    for                          him     to

                                       keep almost    all of it as surely    usually  happens.




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                   Michelle    S·
                                                                               12/2/2016
                   Santa Monica,    CA
                                         Do yourself             a favor            and    just    call     Oz.        They will           do a far
                   H   48 friends
                                         superior         job    and          your    belongings                will    be taken             care   of. I
                   O   4 reviews
                                         moved   from LA to NYC.     Paid for a full-pack   which  cost over
                                         $7,000  - total
                                                         rip 011for 2 bedrooms.     The foreman    left early
                                         due to a personal    issue and the two packers      did a
                                         horrendous             job.        Most    of the boxes didn't     have packing
                                         paper.     They         packed           cleaning  supplies    with leather   and fur
                                         coats.      My leather                bags, shoes    and boots were thrown        into
                                         the     bottom   of a box with                      heavy         items        on top         and     were     all
                                         dented.


                                         The      packers            didn't       even      put      my flatscreen                  TV's      in proper
                                         boxes.        Instead,          they        put them          in regular              boxes         (no

                                         protection)            with     other        heavy things.    The NY crew was
                                         appalled          at the terrible             job and kept apologizing    as many of
                                         the     boxes       all arrived             damaged.    I think the LA movers  threw
                                         them      down         the     stairs        for them         to arrive             in such         poor     shape.


                                         They      even         lost a large              linen      box    and         claimed         it was      only
                                         worth      $25.        Over        20 items          were         damaged,              including     my
                                         bedroom            dresser            and     teak       armoire.             The     adjuster    claimed
                                         those      weren't
                                                         moving                       damages.              Funny   how they were in
                                         fine     shape
                                                      when they                        left LA and           the packers  didn't . Most
                                         all my custom    framed                       pictures           are     damaged              bc they        didn't

                                         wrap  them.


                                         Then,      their       customer              service         is unacceptable.                    My calls         to
                                         the  long        distance             manager            weren't          returned.            It was
                                         impossible             to speak             to a manager.                I believe           they outsource
                                         their    useless            customer             service          who         gives    only     canned
                                         responses.             I provided             two        pages         of itemized            issues       with
                                         over     50 pictures                 and    they didn't do anything.   Their
                                         insurance           is a total           joke.   In the end the issued   me a check
                                         for $900         when         the        damages            were        well        over     $5,000.


                                         Bottom        line,     Flatrate            makes         claims          about        being the           best        in
                                         the     business            that
                                                                        they don't uphold.  They                                treat their
                                         customers              like crap. I will never use them                                    again.      Don't
                                         make       the     same            mistake         I did.




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            a      Susan     C
                                                                               7/16/2016             ·   O       Updated          review
                   Bergenfield,      NJ
                   ; ; 271 friends        I needed            to write         an update             as I told            customer           service             I
                                          would.        As soon          as my original    review                          went       "live",     customer
                   O   18 reviews
                                          se       ce contaded              me. Bey     sad Mat                            Me     chginal         o#er           of
                       3 photos
                                          $75     for    inconvenience                  + $120              for damaged                 items      was           a
                                          "mistake".         They         offered         to send               me $800           (the      original
                                          ransom          I was forced             to pay) plus the $120. They also asked
                                          that    given        this     change        "could  you kindly change     your
                                          review".           I told    them,      not a problem,    once I received    the
                                          check.       They said they would      expedite   the check.                                            After          10
                                          days       and no check,   I contacted    customer    service,                                           who               said
                                          that     I should           receive      it soon.           A1ter           12 days         and       no check
                                          (and      an additional               two     days         to hear           back       from  someone)
                                          they said they                would         reissue            the     check        and    send it by
                                          FedEx.   I didn't             receive          the check                until      7/13/2016.    My move
                                          was      6/4/2016.            The      check        was           for $920.


                                          In a nutshell,              after     being        persistent                and      vocal       on all social
                                          media         outlets         and      promising               to update              my review,             I
                                                                                         "tip"
                                          received           my forced            40%                    back         plus      money   for
                                          damages.            FYI   I have             received                four    emails         from       other
                                          customers             looking         to sue        FlatRate                for similar         experiences.
                                          If you     are       moving,          look     into       this       company            at your         own         risk.         I
                                          added         a star        because          the      check           cleared.


                                            Q       Useful        5               Funny         1                     Cool    1




                                                                               6/20/2016             . Previous              review

                                          My move occurred        on Saturday      June 4th. The four movers
                                          showed     an hour early without      warning.     No call beforehand.
                                          I was given     the paper to sign     stating   that  a 15% tip was
                                          necessary,    I  had planned   on   giving    more   anyway,   but the
                                          foreman            (who      was       being called  "Rambo")    told                              me 20%            tip
                                          was      necessary             and      it had to be cash. Although                                   they       worked

                                          very quickly,   packing                     and     loading,            they        were       extremely
                                          rough.  I didn't even                   realize           untilthey  3 days         post       move that
                                          had      broken
                                                      my mirror      as it was hidden in the basement
                                          behind my television.     They did not come with any tools and
                                          we had to unpack      our own boxes we had packed      to find
                                          them       screwdrivers,               allen       keys
                                                                                           drills, necessaryand to take
                                          apart      furniture          that     was
                                                                                 big to  too
                                                                                        fit  through   doorways.
                                          There         were times   were they were just standing          around,
                                          waiting        for my fiancé   to find them tools.
                                          About        halfway   through                 the day,              the     foreman           told    me that
                                          20%       tip  was   customary,                   but due             to the        large      amount             of
                                          items      left,     I would         have      to give            at least          30%       or they            wouldn't




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           continue           the move.
                                 I begrudgingly      agreed    because       I
           needed   my items  moved     to the  new    location.    The   truck filled

           quickly and they  said  they   were   out  of  room.   I  explained     the
           sales rep Larry Petrakakos      knew my movewould              take at
           least two trips               (the new         location       was      less than      a mile  away
           in the same             town)          and was        included        in the price.       Rambo flat
           out refused            to continue             the move          and started        packing   up
           again      unless           I guaranteed             them     $800      cash      in addition  to
           the $2 095             I paid for the move.                  He said         he would     have       to be
           told it would              take       more    than  one trip and he didn't have to
           do it, he could leave                     if I wanted.  I didn't have a plan B I had
           no choice. They threatened                            to leave         so I said     rd pay it. I
           attempted   to call my rep but I could                               not reach      him   as it was
           late Saturday.  The truck filled again                             as they had half the
           truck     filled     with       empty        boxes     from      the first run. I pointed out
           that the items                that still needed              to be moved          were     on my

           inventory           list     BBQ grill,        generator             bike and toolbox         but they
           again refused                 to come         back     a third       time.    Rambo       again
           started      asking           for more       money           or hewouldn't          come       back        for
           these      items,           I told     him the banks           were      closed     and $800          was
           almost       40%           and that was            it. When   they finally brought the
           third     load to the new                  house       they  were  angry and rude they
           put everything    in the garage                          even though   boxes were
                     "bedroom"
           marked                  or "kitchen"'.                        He gave         me the paperwork
           and said to sign                  as he spent          too much          time   already and
           needed        to leave,               I couldn't     go through          my  items.   I had four
           men,      each        over six feet            tall, standing           around me

           demanding                  I sign the letter,        I had no choice.
           Later that          day as I attempted     to unpack I was shocked  at
           the boxes.           For example,   I found a box packed with shoes,
           food,     unwrapped                   vases and        a coffeemaker.             My clothes
                                                bedroom"
           marked        "master                                were     in the back         of the garage.             I
           have      been
                       digging                     out from      this    mess      for two weeks.           I felt
           that    I was
                      clearly taken advantage     of but also backed into a
           corner. For lack of a better term, my items were held for
           ransom by this crew of movers,     "give us more money or you
                            stuff'
           don't get your          I needed my items moved,     I have a car,
           I can't    transport              a grill or a generator.              At this point          I wouldn't
           recommend                  this company              to anyone          in fact    I'd advise
           against       it.
           I contacted            the company    and after two weeks of back                                    and
           forth     they      sent   me this. "At $O 60 per pound at 2001bs
           (mirror      and tote       box)           your total        claim     is S120.00.        We
           understand             therewere
                                        extenuating                             circumstances            with    your
           move       and as we appreciate    your patronage                                  we are

           awarding      courtesy    compensation          in the amount      of 575.00.

           Accordingly       enclosed      please    find   a  check in  the   amount    of
           $195.00     serving    as  full  and   final   settlement   for  claim
                                            /16."
           #787100      filed on 06/08


           I wouldn't          classify      holding my items                   thatwere       listed     on the
           preapproved                 inventory   list for $800             as "extenuating
           circumstances".                      I am disgusted           with this company.



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           T. Bernie        .-
                                                                          1/2/2015
           Miami,      FL
                                           13 photos
           4       542 frierids

           O       145 reviews
                                  Rating            between             2 - 3 stars                 was      debatable.                 Flat     Rate         was
                   324 pilotos
                                  referred           to me          by one      of my graduate                             school          classmates
           Elite    '2020
                                  that      had       success             moving   from NYC                           to MIA.            Unfortunately,
                                  my       experience                  was        not     as smooth.                 I believe             generally              they
                                  are      4/5-star,             but     my       experience                 was       the       outlier        which            I feel
                                  no other            person,             especially                someone                not     covered              by
                                  corporate                expense              should          endure.


                                  On       a positive             note,         the       email        or phone              responsive                 of the
                                  Flat      Rate         office        team         is great            as is the            speed          in which              items
                                  are      packed/unpacked,                              loaded/unloaded                         by the         on-site
                                  movers.            Also          the        paperwork                is well        laid       out.      However,                the
                                  negative            is a lack               of organization                     to pack/Unpack                      boxed

                                  contents,              as well          as my            move            was      scheduled                  against           my
                                  preferred              timing,          leading            to both          inconvenience                      and

                                  irle1ficiency              of delivery                 plus       some           of my fumiture                    arrived
                                  with      damages                 and        all furniture                had      dust.       Also          at the        end         of
                                  the      first     3-month              storage            period,             I was       riotified          my      monthly
                                  storage            fee     would            double.           I had        to refute             such         gouging        and

                                  eventually               I agreed               to a more                a nominal             increase,              but      an
                                  ir1crease           all the          same             which         I found         unscrupulous                      as

                                  nothing            irl original             contract              said     rates        could          change.


                                  It was           agreed       to in writing     and verbally   that I would  be
                                  alerted           48     hours   before     delivery.  Instead    not only was it

                                  only      24      hour         notice            Flat      Rate          Long      Distance               decided              to
                                  proceed             with       the      move            on a date               when         I had       tight

                                  availability              and        that       my      building           management                        could         only
                                  assign           2 hours             use        of elevator               even       though            we      both
                                  requested                the      day        after      which            was      free       availability.               The
                                  movers            were          there         a total         of 3 hours               and       45      minutes.              Given
                                  the      poor       scheduling                    I had       to take            a conference                  call        so I
                                  was       preoccupied                   for the           first      2     1/2     hours         of the        move.             For
                                  what        remained,                 it was          difficult          to direct         the        movers             due      to
                                  the      missed            time        and     so many   items    being  in my apartment
                                  that      were         brought              up to adhere    to the 2 tour   elevator  limit.
                                  Also        due        to the          poor       packing                of my      boxes,             and     being           that         I
                                  have        so many               items,          it was           di1ficult       to properly                place         items
                                  for two           reasons,             first,     the      boxes           were          not     detailed            irl
                                  labeling.           For        iristance,              Docks         in boxes              were        labeled             to the
                                  correct           room,         but there               was        no labeling               of which              shelf,         and
                                  left     to right          based            on       how      it was           setup       before            packing             it up.

                                  Therefore,               without             me       overseeing,                 the      books          were
                                  Unpacked                 and      haphazardly                      placed         on     shelf          mostly             back        to
                                  front.      This         created             aimless              work      for the          movers            and         extra
                                  work        for     me      in completely                     reorganizing.                    Second,             all



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           furniture           had        dirt     which          led     me to question                        were          my        items
           not     stored          wrapped;               the         dust      was          caked           on.      I received                no
           heads        up         beforehand                 that       this        may         be the        coridition               they
           arrive       in to prep                so    unpacking                   was         futile       as all furniture                    had
           to be thoroughly                       wiped          and         sanitized.                Given          the     dust           why
           would   Flat Rate                      not     recommend                       that        I caricel         unpacking
           given       their        expertise              of what              condition                lengthy          stored           items
           might       arrive         in?Also,                many           boxes            had        a mix          of items           just
           thrown           in without              regard            for the           protection             or delicacy                   of the

           items,       i e. shoes                 with       lingerie,             kitchen            items        with         linens,
           light     fixtures          with        hair       products.                 I have           a lot of things                  arid
           this     move           wasn't          easy          on     both           ends           however               my contract
           wasn't       just        for     transporting                  items            but        also     fees         for packing
           and       unpacking.                  Including              $500           cash        tip    for the           movers             an
           both      ends,          I absolutely                 feel        jilted.       To add            insult         to irijury              a
           handful           of furniture                items          were           delivered             scratched                 with
           gashes            in the        wood           that        were          not      there        prior       and        two       pieces
           01T hirige.           Additionally,                  right        after       my pickup,                 I reached                  out      to

           my      booker           that         the    movers               left      two picture                 hangings               on      wall
           that      I specifically                asked          to be packed,                        to this        date         I've
           received            no     response,                  apology               or comperisation.                          My       Dirt
           Devil       vacuum              and          Black         & Decker                drill      are       missing,            as well
           as the       moving   blanket                         I borrowed                  from        a friend            seems             to
           have        been accidentally                          taken             during         unpack.


           The       only      thing        that        got      me through                     the      delivery           was         how
           great       the       foreman               was.       I really             wish       the      packing               had      been
           done        better         so that           they          could          have         unpacked                  better        and
           helped           me      more           because              they           had       such        great          attitudes.

           Unforturiately       I had to release     them     as it was futile due to
           hapless      packing    and  dirt on  the   fumiture.    Plus what   they
           were        unpacking                  actually            was        creating              work.


           Moving            is a strain               enough            as it is, even                   more          so as a sirigle
           woman              and         without          a comparly                     covering             long         distance              and
           the      long      storage             expenses.                   I am        hoping           that       Flat       Rate          does
           the      right     thing        with         reparations                    for the claim                and       photo
           documentation                         I submit.            Should              you      select          Flat       Rate,
           please           be proactive                  to ensure                 you       do endure                 the      damages
           and      occurrences                    I had.


           Photos            are     posted             to show              above.




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                 All (160)     T.Bernie's Photos (13)                                                                    Searchphotos...




                             Wendy    B-
             .                                                                         6/9/2017
                             New York, NY
                                                        I do not        know    who's        writing   these    positive reviews.                I cannot
                             G¾ 162 frierids
                                                        imagine         a positive          experience      with this company.                  I want     to
                             O   3 reviews
                                                        keep this short because   I know the people                                 do not      read     long
                                                        reviews  but I have so much to say. Between                                    the    rude
                                                        foreman       ( Jonathan)             to the     salesman           who     convinced          me to
                                                        save      money    and take             the    low    insurance           because      according
                                                        to him  nothing  ever                happens,         this    was    an awful        experience.
                                                         Things   happened.                  they broke         two     chairs,     a coffee     table
                                                        and     a kitchen       table.        There was         grass  on my 3000 light.
                                                         Items     all worth         well     over     $6000.     They   reimbursed     me
                                                        Under      1/6 of that.        And      that    was     only after I threatened    to
                                                        write     poor    reviews           all over
                                                                                     the place.    If you look carefully
                                                        there     are
                                                                  so many  instances    of broken     and lost items that
                                                        you do not see at another    moving   company.      Please   please
                                                        please do not use this company.       you'II be very sorry.




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               93
                                                                                1/28/2019
           Brooklyn,          NY
                                        I would           include            negative            stars         if it let me.                My       husband               and        I
                  0 friends
                                        had       a terrible           experience                  with        them          when            moving                from
           O      5 reviews
                                        Brooklyn               to Ohio          this      past       summer.                 For          starters,           they
                                        misquoted                the     price         and       when           the         team          arrived            to pack            our
                                        apartment               they         did     a terrible           job      and            intentionally
                                        underpacked                    the      boxes           so they           could             charge              us more.
                                        When          they       informed                us we         had        exceeded                    the       number             of

                                        boxes,          they         extorted            us for        more           tip     money              saying             if we
                                        paid      them          more          they        wouldri't            add      the         extra         boxed             to our
                                        total.     We felt we                  had       to in that            moment                 to avoid               the     even
                                        more          expensive               fee
                                                                               for exceeding                                the     boxes.              of    course

                                        they      ended              up taking   the money                            and         still     reporting               the
                                        boxes.          Then,          they         changed              the     delivery                 date       ori      us so many
                                        times         and       we      had        to stay         with        frierids            or go days                 without
                                        things.         When           everything                arrived           more             thari        half        of it was

                                        broken;           our        couch          frame          had     been             snapped,                 the      majority               of
                                        our      dishes          were          broken,           and       all our           fumitire             was         scratched.
                                        When         we called                to complain                 we      were             essentially                told,        "no
                                                  cares."
                                        one                This                was        an     awful          process               from          start      to finish.
                                        NEVER              use        this     company




           Rebecca            D-
                                                                                10/11/2017
           West     Hollywood,     CA
                                                 12 photos
           9   D friends

           Q   4 reviews
                                        WORST               MOVING                  COMPANY                    EVER!!                 DO NOT USE                           THIS
           G   12 photos
                                        MOVING                 COMPANY.                      The      worst           customer                   service,            rude,           no

                                        integrity,          damage              everything                valuable.                 Over          Charge.             Their
                                        white        glove           service       is false            advertising.                   See         below             picture.

                                        They       will        low     ball     you         for your           value          of items               even          when

                                        paying          for extended                   coverage.                 David            Giampietro                   is their
                                        COO          and       is fully        aware           of their          poor         practice,               and          has      a
                                        large      legal        team          who         deals        with       numerous                    claims               as he
                                        stated.         Customers                   are      assured             great            care        will      be taken                of
                                        their     valuables,                 not     knowing              that        if iri fact           damage                 occurs
                                        you      do     riot     receive            an      amount             that         even          comes              close        to the
                                        true      value         of your            items.        I should             have           looked             at all the
                                        numerous                bad          reviews           and     similar              stories           before         hiring
                                        them       as       movers.             I paid         $9k     for a cross                   country               move     and

                                        they      damaged                my         new        home         and        furniture..                pict         res        below
                                        are      a few         examples.                  TERRIBLE                    COMPANY




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                 All (160)     Rebecca'sPhotos (12)                                                                                                      Searchphotos...




           Rhandy        A-
                                                                                            7/15/2017
           Moritclair,    NJ
                                                      Aside         from       the     fact      that        Flatrate          delivered           my       fumiture
                157 frierids
                                                      passed          the  delivery                 window            given        to me,         some       of my things
           O    10 reviews
                                                      were         missing     and/or                  broken.          When            I received          my fumiture   I
                                                      rioticed     that two of my                        boxes          that       were         labeled          "electronics
                                                              mix"
                                                      and            were opened                          and      retaped.              I did     not     give      too        much
                                                      attentiori        to this         because                 I was      paying              a lot of money                   for the

                                                      delivery         and       I did        not      think      that      Flatrate            employees               would
                                                      go into        my        boxes.           The       boxes          clearly         had      a cut      through              the
                                                      tape     along           the     seem            and      then      were          re-taped           the     opposite
                                                      way.     At     first     I thought              may       be the         box      operied           and      it was
                                                      secured          but      then        as      I started           to assemble                   my    home           alfice          I
                                                      could        not tnd           my extemal                  hard       drive         with     all of my
                                                      documents                and         sensitive            govemment                  materials.              I did        tnd
                                                      on the        other        hand,          the      bubble           wrap          that     I used      to secure                  it..
                                                      Before         jumping            to any           conclusions                  I waited         to look          through
                                                      the     whole           box.     My       Beats           headphone                 case        was        also      left
                                                      behind         in the          box      without           any       headphones                   or the
                                                      accessories               that        come          with     it (cables             and      cleaning     wipes)..
                                                      At    this    point        I realized              that    my       things          have      been    stolen.    Iri
                                                      another          box       I had          a plastic          bag      full    of wire           accessories                 and
                                                      small        electronics.This                       bag      was         ripped          open        and     my       Sony
                                                      camera          and        google             chromecast                 device           were       taken.          In
                                                      another          box       labeled            Fragile         a custom               Alaskan           flower         vase
                                                      was      broken           along           with      a diriner            plate.


                                                      If you       want        your        things         stolen         and       broken          hire      Flatrate
                                                      Moving.




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            Marguerite                 B·
                                                                                              8/29/2017
            Tucson,         AZ
                                                      I would          give       them          less      than      a zero             if I could!
               ¾    284 friends
                                                      Horrible...do                not      usel
               O    12 reviews
                                                      They  moved  me to Arizona                                    and         the     movers             didn't        show       up
                                                      and I had to move  myself                                  from       3 PM until               3 AM...Items                  were
                                                      dropped             and       broken.
                                                      No one           has       followed               through.
                                                      Horrible            experience!




           Kate       F
                                                                                            11/25/2017
           New      York,      NY
                                                     The      movers            who         moved           us to NJ from                    NYC,          threw         away
           9       0 friends
                                                     the    Christmas               China          I had         beeri         given        since          I was     a child
           O       10 reviews
                                                     and      attempted                to get          me to pay            additional                               -
                                                                                                                                                    money                 saying
                                                     that     the    truck        was         filled      more          than      what        was          assessed             even
                                                     though         the        mover          forgot       to pack              a room   in my apartment     -

                                                     before         my      goods           were         delivered.               Numerous    items  missing
                                                     from      my      apartment.                  Flat      Rate         refused           to comperisate                      me
                                                     for the        value        of the          lost     items.         Stay         far   away           from     Flat      Rate.




                               Stella       T
                                                                                                                 4/21/2016
                               New York,        NY
                                                                         Terrible         experience!                   Dishonest             scammers.                  They damaged
                               4¾ 221 friends
                                                                         the     hallway           of my coop               and         refused            to pay        for the damages
                               O       300 reviews
                                                                         meanwhile                I had      paid         for    a certificate               of insurance                for this
                                                                         move.          I got      stuck         paying          for    the        damages           out      of pocket.
                               Elite    2020




           A J·
                                                                                            7/4/2018
           Manhattan,            NY
                                                     I wanted             to    like     this     mover,           but     they         showed             up with          a truck
            9      0 friends
                                                     too    small          so our         things          were          on the         street        for    hours          until
            O      8 reviews
                                                     another           truck        could         come:           there         were        riot    enough           men           and
                                                     the      move         took        almost            12 hours.              Also,        many          things        were
                                                     broken.             Many,          many            things      were          scratched.                They         said

                                                     they      would           wrap         paintings             but     norie         were        wrapped              so some
                                                     frames          were         scratched.                And         a fair         amount         of the        furniture
                                                     was       scratched               as       it was      not     wrapped                 in blankets             like     they
                                                     said       they        would.




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           Kristin    M.                                             12/18/2017.               O   Updated            review
           Hoboken,       NJ
           9    186 frierids            1 photo

            O   3 reviews
                                The                          and      service        seemed             great       at the                but
           G    1 photo                  company                                                                               time,
                                multiple          small      items       were         broken,          which        is what        it is and      I
                                am      aware        accidents           happerL           but  my two most experisive
                                items      were        ruined-
                                                                       my white          Restoration   Hardware   couch
                                has      stains       and     dirt     all over it-even            w professionally                    cleaned
                                it looks       terrible.      And       my      new     65      inch      flat     screeri     was
                                dropped.            A1ter    a month            of stalking            their      claims      dept:      I am

                                getting        a total      of $450           back     when        my          tv alone      was       $3200...

                                also,      I told     the    men       the     tv was          expensive            and      to be careful.
                                I am      very      disappointed               and   only        use       this     company            if you
                                plan      on getting          the      extra      ins rance.



                                  Q       Useful                     Funriy                     Cool




                                                                     10/23/2017.               Previous           review

                                The      company             and      service        seemed             great       at the     time,      but
                                multiple          small      items       were         broken,          which        is what        it is and      I
                                am      aware        accidents           happerL           but     my two            most      experisive
                                items      were        ruined-
                                                                       my white          Restoration                Hardware           couch
                                has      stains       and     dirt     all over       it-even      w professionally                    cleaned
                                it looks       terrible.      And       my      new     65      inch      flat     screeri     was
                                dropped.            Alter    a month            of stalking            their      claims      dept,      I am

                                getting        a total      of $450           back     when        my          tv alone      was       $3200...

                                also,      I told     the    men       the     tv was          expensive            and      to be careful.
                                I am      very      disappointed               and     orily     use       this     company            if you
                                plan      on     getting      the      extra      insurance.




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           Kathy    B.
                                                                                      10/31/2018
           Van Nuys,       Los AI1geles,   CA
           9   D friends
                                                We were             very       disappointed                 about        our    cross-country                  move
                                                with      Flat     Rate        Movers.              We had          arranged           for     Flat      Rate       to
           O   3 reviews
                                                pick      up our         office       fumiture,            hold     it for     a month          and      then
                                                deliver          it to Califamia.                  The     pick     up     seemed            to go well.
                                                 However              when           I asked            for the      inventory         that       they     said

                                                they      would         give        me      of all of our           items      they          refused       to do         so
                                                and       immediately                shipped             all of our       items      to California.                  I
                                                had      to scramble                to find        storage         for the        30 days         that     Flat
                                                Rate       had      promised                us.     When          the    shipment            arrived,          we
                                                were       missing           one      item.          It was       an expensive                 piece      of
                                                artwork.        The          delivery   guy said the scanner    showed  the
                                                item      was       still    in the Flat Rate Movers    warehouse.     We
                                                riever      saw         it agairil          Flat     Rate     fought           me on my credit                  card
                                                dispute          over       their     fees         to recover           the    value     of the          artwork.
                                                 Instead          of receiving               $3000          for the       artwork        (confirmed                 by
                                                purchase            order),          Flat        Rate     paid      $650       and     closed          their    file.
                                                 Flat     Rate        made           no e1fort          to locate        our      artwork!




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           Laura    E.
                                                                                       5/9/2016
           Manhattan,      NY
                                                         6 pI10tos
           ¾   0 friends

           O   13 reviews
                                                 A PICTURE'S                    WORTH                A THOUSAND                        WORDS:                SEE
               6 photos
                                                 PHOTOS                BELOW
                                                 After   having              used          this company                before,           and referring                 many
                                                 friends   and              family,         I am so sad              to have           to report    the              poor
                                                 treatment             my      belongings                 received          by these             movers              and
                                                 storage           people.


                                                 I Used       this      company                   3 times         in the      past       15 months               and
                                                 stored       items          with      them          over      the     course          of a year.             After

                                                 spending             over        $6000.00                in moving           fees       ( not       including
                                                 storage)            arid     $1000.00               in gratuities              I am        left with         severe
                                                 damage            of irreplaceable                       items      and      loss       of things            left    in
                                                 storage.            Furthermore,                   the     moving          men        removed               parts         from
                                                 an      antique        clock          that       they      later     could        not     replace,            leaving
                                                 me with           a non        working              clock.


                                                 What       infuriates              me the           most         is that     you        are     expected              to tip

                                                 generously,                (seeing           how         much        physical           labor        is involved,
                                                 one      is made            to feel      guilty if you               don't      tip on top of the
                                                 exorbitant            rates)          and these    tips              are     dispersed    before  you
                                                 can      unpack            and       see         how      careless         they       were          with     your
                                                 precious            belongirigs.                 After     over      $1600          in loss          there          is no

                                                 way      these         guys          should         have         received           $1000           in gratuities!


                                                 Since       every           single         box      (made          especially             for fragile           items)
                                                 was       marked    accordingly                          there      was       no reason               to handle               the
                                                 items       in such  a rough                      manner.            Furthermore                   I kept      asking
                                                 the     movers             not to carry              certain         boxes          one       on    top      of the
                                                 other      for      fear     of crushing                 fragile      pieces.           They         kept      saying              to
                                                 me "don't            worry".


                                                 And      finally,          I have         repeatedly               reached          out       to customer
                                                 service          asking          to speak              to a manager                 before          I wrote          this
                                                 review.          I don't       like       to write         bad      reviews           and       have        given           this

                                                 company              every         opportunity                to make          this       right.       They          have
                                                 riot dorie           so.




               All (160)    Laura's Photos (6)                                                                                                      Searchphotos...




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           Christine        B.
                                                                          13) 16018
           C hie@go,   IL
                                 AVOID           IF YOU             HAVE             ANY         COMPLICATION                            IN YOUR
                                                                                                                                          truck"
                                 MOVE!                Paid      a premium                 price          for "guy         with       a
           9    18 reviews
                                 experience.                  Problems                 at each            step     and       unbelievably                     poor
                                 customer               servicetcomrnunication.                                  Moved              from        NYC to
                                 Ch!cage              and      initial      quotes              didn't      make          sense,           sa contacted
                                 head          of the        department                 ta straighten               out.            Such        a hassle,
                                 but     we      thought            we      were         ok        Then,          2 days            before         our        move,
                                 we      get     an email,               NOT even                 a phane           call,      that        because                 af
                                 federal         rules        for trucker               breaks,            move          needed            to be         pushed
                                 out      by 2 days.                NOT acceptable,                         considering                  everything                 we
                                 had       lined       up     in Ch!cago                 to happen                past      move.            And         I
                                 checked.              federal           rules         didn't      change           overnight.                  Teak          us
                                  1/2 day             of furious
                                                        calling                             to get         anyone           an       the     phone.

                                  Finally they agreed      to keep the date.     But then we had                                                                   to
                                 deal with last furniture.      They had a   lot af our stufF in

                                 storage,             sa we         personally                went        to the         facility        to decide             what
                                 to junk.             We physically                    saw       everything               in our         unit    that         was
                                 supposed               ta go ta Chicago                            But     bad      surprise.              they        brought
                                 an     Ikea       TV       stand         (which          was        supposed               to be junked)                     vs.
                                 our      antique            dresser            that     is irreplaceable.                     Also,         instead               of

                                 having 6 guys                    who           moved           us aut       in NYC.             we        only had             3
                                 guys to move                     into     our       new         place      (which           didn't         have a
                                 service           elevator)               We ended                  up     rushing          around             ourselves
                                 to get        stuIF     oft the          truck         at the       end         of the      day.          Despite             that,
                                 the     drivers         took back a box                         that      had      one       of our           dining         room
                                 chairs         on       â€”
                                                       it and drove  oft                         I was       assured                numerous                 times

                                 by     Management                       that     the     antique           dresser            and         dining            raam
                                 chair      would            be     returned.               3 weeks              of having            to canstantly
                                 follow         up.     I get       an     email         to make            a claim.             Again,          not         even        a
                                 call     to take           respons!b!I!ty                 or even          apologize.                   And     the

                                 money           I got        back was               a joke         compared                ta the         value         of the
                                 object.              Again,         if you          have        any      complication                   in yaur             mave,
                                 STAY          AWAY           from         Flat        Rate.




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                           Stefanie     R'
                                                                                                         4/30/2018
                           Manhattan,       NY
                                                                    This      is the       worst     moving   company     in the market,  extremely
                           9 4 14 friends
                                                                    Unreliable             and     non responsive.    They claim   themseves     to be
                           O   3 reviews
                                                                    professional              but       it is pretty          much          a gamble            whether            you    get
                                                                    a good         mover          or not      based           on their          availability.          In my case,

                                                                    they never delivered   a full piece                                   of fumiture              as the movers
                                                                    broke it and then just apparently                                     disappeared             it. They  also
                                                                    broke the legs of my bed frame                                     and      were         able to fix it two
                                                                    weeks          after    we      moved  in, forcing   us into the situation of

                                                                    having    to sleep              on a mattress    on the floor. You also have
                                                                                                                                              to
                                                                    make sure they deliver       all pieces    to you as after taking       9
                                                                    hours   to complete     my move,     due to having       extremely
                                                                    Unexperienced       people,  they   lacked    in deivering     all of my
                                                                    items.   I had to call for them to redeliver       next day. After     a
                                                                    month          of having   moved    in to a new place,                                    I still    have       not
                                                                    gotten         replacement    or refund    for my table                                   and       have       had    to
                                                                    dealt      with     numerous                calls     and        lies    from       their       incompetent
                                                                    team.




           Amrita     P
                                                                                      8/16/2017
           Chicago,   IL
                                                        9 photos
           9   0 friends

           O   12 reviews
                                                 Do not        use      this                            for              distance             moves.            I moved
           9   18 photos
                                                                                   company                     long
                                                 from       NYC        to Chicago                in June         2017         and      was          charged             $1500
                                                 for the      move           (30      Doxes         and       4 big pieces     of fumiture  -

                                                 wooden             chair,      bed,       dresser            and nightstand).      The 3 of the                               4
                                                 pieces       of furniture              (which          were       the        only     things         packed             by
                                                 FlatRate)            arrived         completely               destroyed.                 I filed     a claim           as I
                                                 figured       it was          a disgruntled                  employee.              After      multiple            emails
                                                 and      phone         calls,        I was       giveri        $250      for        my      "troubles".            I had
                                                 to purchase                 a new         bed,     dresser             and      chair.       If I knew            they
                                                 were       going       to be         so careless                with     my      items,            I would         have
                                                 sold       them       in NYC           and       not     paid     them          to move             the     big     items!
                                                 There        are      a lot of better              companies                  out    there          that     might           be
                                                 a little     bit    more        expensive               but     will    treat       your       stuff       with
                                                 respect.




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                All (160)      Amrita's Photos (9)                                                                                                          Searchphotos...




           BMPEM




           gam
           Cynthia        L.
                                                                                                1/7/2017
           Beverly Hills,       CA
             -                                       I have         to start             out            the guys     who delivered
           ¾ 30 friends                                                                    by saying                                      my
                                                     furniture             were       fantastic  -         did                just right.    Now,
            O   83 reviews                                                                         they        everything
                                                     who's        fault          is it that so many      items were      broken,   incI ding
                1 photo
                                                     my       media          center,        my dresser,                       my       lamps,          cups,          wirie

                                                     glasses,              etc.,      I don't  know.


                                                     Not      only         did      so    many              items       get      broken,            they        cari't        find     my
                                                     Tempur-Pedic                        mattress!!                 I received              a bunch             of calls           from a
                                                                                                                                                                                     claim"'
                                                     bunch          of people                  with        titles     and       all    I heard            was        '¶le      a
                                                     -- FILE         A CLAIM.                   WHAT                DOES         THAT            DO FOR ME?
                                                     SLEEPING                      ON A HARDWOOD                                   FLOOR              WAS            NOT MY
                                                     IDEAL           SITUATION.                        I was          promised               all day       that        someorge
                                                     would          call       me        by 5 pm              on      Friday,         by 2 o'clock                on        Saturday,                I
                                                     still    had        not       heard         from          anyone            arid        had      to call         the
                                                     warehouse                     myself,            but     of course               the     person            on     the         other

                                                     line,     hadno authority     to help me and again,      he said 'Tle a
                                                     claim   on Monday        because     the claims  department     is closed
                                                          Saturday"    -
                                                     on                  GREAT,       THANKS.      On top of all this mess:    I
                                                     packed              my comforter                       in a special              comforter             bag,            so imagine

                                                     my       surprise             wheri         I opened               Up the          box        that     contained                  my      tv,
                                                     and       there         was         my      expensive                  comforter              wrapped                  arourid          the
                                                     TV!!!       Still      missing   my coffee    pot, vacuum                                         cleaner               curtain
                                                     rods        etc.       I also found  a burich     of towels                                      wrapped                 around
                                                     other       furniture               items         - which                                        boxes          were
                                                                                                                         means,               my
                                                     opened.               The       packers                in LA packed                    my     round         lamps              shades
                                                     in a box            and        of course,                 they      are       ripped          and      brokeri,               why
                                                     didn't      they            put them              in a special                rectangle              box        I am
                                                     disappointed                    and        will       never        Use       them           again.        My family
                                                     members                tend         to move               around           the         country         all the time                 and
                                                     this     company                 is off          my      list!    I did     receive            a phone                 call     today
                                                     and       was         told      to purchase                      an air      mattress             in the          meantime.




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           Wendy       R.
                                                                        10/7/2017
           WalliI1gford,    CT
                                 I'm not           sure      where           to begin            except          at the         beginning                  which
           ¾    D friends
                                 werit       extremely               well.     Laurence                 was      my       representative                      he
                                 was        awesome,                 professional,                affable          and         completely                  up to
                                 the       task.      I had       a complete                   pack      and      move           from           a one
                                 bedroom              apartment               in New             York   City           into     a drive     up storage
                                 Unit       in Connecticut                   because              I needed             to wait          1 month
                                 before            I could      access             my      new         apartment.


                                 The        moving           crew       seemed                 extremely              professional                  especially
                                 the       foreman,           Luis.        Although              I have         yet     to unpack                the
                                 furniture            which          seems           to have             Deeri         carefully          wrapped,                  the

                                 quality of the packing  part was                                       anything  but. Anything                              that
                                 had its own box i. e. the lamps                                        so far seem   okay   but                            too

                                 many         things          they      packed             did     not     arrive         in one          piece.
                                 Moreover              the     reason            they       didn't        is because                  they       were         not
                                 padded             Inside        the      Box       from        the     other         items          inside         the      Box,
                                 one        example            is a large            decorative                 hi high-back                 chair          with        a
                                 wood         wicker          webbing              and         velvet      cushion              seat      was          packed
                                 with       a wood            dining         room         type        chair      on     top      of it. There                was
                                 no      padding             between           the        wood          wicker         webbing               arid      the
                                 wood         chair.         Naturally           the       webbing              is broken.             Aceramic
                                 crock        pot was           in a million               pieces          because               it was          placed            in
                                 the       bottom          of the       box        with        no paddirig              below          it, the         top        was
                                 intact.


                                 I could           go on       and      on,        but     I won't.           I fear     what          I will       find     when
                                 I unpack             my      glass        collection             arid     the        Crystal.          I packed              a
                                 number             of things           before           they      arrived            and       labeled          the
                                 contents            with      care,         they        did     not,     myriad              items      were          packed
                                 together            of di1ferent             ilks       making           unpacking               even           more
                                 Unpleasant                then       it was         already            going          to be.


                                 I still     have         23 of the           boxes        they packed    to open     as well as
                                 most        of the         furniture          and        most of the fragile  items.    Pray for
                                 me




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           Luca      A-
                                                                               10/2/2017
           New     York,      NY
           9      24 friends
                                        We hired             Flatrate           to move                us 3 blocks                  down.          The       crew         was
                                        able     to damage                   our     fumiture                 and      the    common                  hallways
           O      2 reviews
                                        (yes,       the  building     charged    us for damages                                              on      wallpaper
                                        and      building      entrance).     Even  though  we                                         had         paid      more          for

                                        irlsurance,              we      were         ultimately               reimbursed                   less      than         2k.
                                        Unless            you      have        Ikea        fumiture,                PLEASE                 STAY        AWAY.              Our
                                        pieces         were         antiques               and         the     damages                are         irreparable.
                                        Also        the     very         attentive           people              who         were          so good           at

                                        following            up before               we      sigried            up with         them,             after      the

                                        damages,                they      all disappeared.




           Mike      K·
                                                                               11/9/2015
           Philrnont,      NY
                                        My      wife       and        I have         moved              nine        times       over         the      years.          This
           9      0 friends
                                        was      the       worst         move          we        have          ever,        ever      had.          Pretty         much          a
           O      29 reviews
                                        disaster           from        beginnirig                to end.            First      they         are      totally        tied        up
                                        in their        own        (mostly          electronic)    paper                       work           but      had        a very
                                        hard        time        getting        it right.   Commurlication                                  with      them         was
                                                           from                                  to end          - as one            example                we
                                        terrible,                      beginning
                                        couldn't           get     the       insurance                 certificate            for     the     building             we
                                        were        moving             out     of    ur1til the              mornirig         of the          movel.            But       the
                                        worst        problem              is that          the     move          itself       seemed                to go       well,
                                        Until    we        started           opening             boxes.             it was          soon      clear         that      a few
                                        boxes          had        been        dropped.                 We had             10 or 12 items                     broken,
                                        most        of them            pieces          of significant                   value          emotionally                   and/or
                                         (we     took        the       extended              coverage                  and  they say they                          will
                                        make         good          but       the     jury        is still       out     on that claim).


                                        Do not            Under          any        circumstances,                      use         this     company.




           Damian          V.
                                                                               5/3/2018
           San Francisco,          CA
           9      O friends             Defirlitely             STAY         AWAY            from         this      company.                 They         broke           the
                                        door        lock        of the       apartmerit                 on     their      way         out;  they
            O     1 review
                                        overcharged                    us; arid            60%         of my          clothes          disappeared.
                                        NESTOR                  and       his team               are     detnitely             not trustworthy.                      The
                                        cost        mer         service           department                   is far from             diligent           and        they
                                        just     keep        transferring                  you         from      one         to another.               I will

                                        definitely           not       use      this       guys         again          arid     definitely             fling         a
                                        police         complaint.




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           Alicianne         R.
                                                                      8/18/2017
           Manhattan,        NY
                                  Did      a cross       country          trip      with        FlatRate              and        they      completely
           4    D friends
                                  destroyed           my       TV     and         two      pieces           of furniture.                The        moment
           O    5 reviews
                                  we     asked       for a credit,                they         went       radio       silent.           Zero        help     or
                                  acknowledgement




           Opilova      O.
                                                                      8/4/2016
           Brooklyn,        NY
                                         2 pI10tos
           ¾    D friends

           O    9 reviews
                                  This      is the    worst         move           of my          life.     And       I was        just
           G    2 photos
                                                                                                                                                moving
                                  apartments             6 minutes                away          in Brooklyn.                   ZERO            STARS.


                                  One       bedroom            apartment,                 650         sq feet.          It took         3 guys          from
                                  10AM         to 8:30         to accomplish                    this.       Both        were        co-op,           elevator
                                  buildings.         We had              a bed,           dresser,            night       tables,             one      couch,               5

                                  bookshelves,                 a table,           a lamp,          books           and         kitchen          to pack               up.


                                  They       threw       the     books            into     large          boxes         without           any        regard
                                  to them,                               get      this     - when                       went        to get           supplies
                                                   because,                                              they
                                  in the      morning,           there         were        just       5 book            boxes           available            to
                                  them.


                                  AII of our         belongings                were        just       throwr1           into     large          boxes,               no
                                  organization               attempted.


                                  They    damaged     our bed                        incredibly               badly,           rolled      a latex
                                  mattress    instead   of just                     picking             it up (had              to assemble                  it
                                  again       myself),          damaged                  the    front       door         in the         old     apartment,
                                  damaged            the       marble          floors          in the       old      building.            When             the
                                  super      pointed     out           the        gash                            the       response                was          -
                                                                                               they       left,
                                                  care."
                                  "we      don't


                                  When         I pointed         out      a box           of photos               and     asked           for       it to    be
                                  treated        carefully,           guess         which             box     I fourid           at the         very
                                  bottom         of a pile        of large              book      boxes?              Yes,       that         one.


                                  They       damaged             the      bamboo                new         f oors       in the          rlew
                                  apartment           as well.


                                  3 college          kids,      not      professional                   movers            we      were          paying               for.


                                  Awful.       STAY        AWAY




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                AII   (160)   Opilova's   Photos   (2)




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           Michelle       L.
                                                                             4/14/2015
           Manhattan,          NY

               14 friends                   5 photos

               83 reviews
                                    This      is my        57th       review           and       I pride       myself          on       Deing         fair
               6 photos             and      even        handed.


                                    While         I have        not     always             been       delighted             with       the      services
                                    I have    received,                  I have         never         called         a company
                                    deplorable-       nor              would           I do so         lightly.


                                    I was         having        my      apt     painted            and      floors        redone             so     needed
                                     to have            my fumiture                removed,              hence         my call            to Flat
                                    Rate.         I carefully          planned             the     timing         of the        painters,
                                    flooring    install,           and        the      movers            (even       allotting    a few
                                    days"wiggle          room")                 as     I was         having        people      over for
                                    Passover              and      Easter.


                                    The      first group   of movers    pick up my furniture    to bring                                                          to
                                             Rates'
                                    Flat              warehouse      in NJ. A little over a week   later.

                                    they      were         to be retumed.The                          second           group           of movers
                                    arrive        and      were   almost               finished.           when         I was          advised               that
                                                              problem."
                                    there         was      "a


                                    I accompany                 him      to my          lobby         where          I find     my very
                                    expensive              side       buffet,          upside         down         with       the        back       leg
                                    and      adjoining            area        smashed                to pieces.           He admitted                    this
                                    was       his fault         and      that        it occurred            days        before            wheri

                                    loading          my     furniture           from         the     warehouse                 into       the     truck.               I
                                    asked         why       someone                from       Flat     Rate        didn't       call        me      prior           to
                                    delivery?            He was           instructed               to deliver          it broken,               and       to
                                    advise          me     toBle         a clam.           This      was       the     hrst        red      flag-        Flat
                                    Rate      was         aware        they          damaged             my furniture                  and        yet,        for
                                    some          inexplicable               reason,          felt     no obligation                  to let me
                                    know          beforehand?                 I called           customer            service             immediately
                                    and      assumed              they        would          be as concerned                       as      I was.         I
                                    assumed                                        - their       response            was        "Oh                -BIl
                                                        incorrectly                                                                         sorry
                                    out     the     form and send                     it back         to us".        I hlled        out      the form.
                                    included            photos,          and         a receipt         which         shows            the       cost         of
                                    the                               also      ask        for the       weight         - which             is absurd.
                                            piece.They
                                    Not      sure       about         all of you             but     I can't       for the          life of me
                                    remember               when          I weighed               a piece          of my        fumiture.

                                    Clearly         another           red flag.




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           Saying            I was         devastated                about           the       damage                that        Flat
           Rate        caused              would           be an gross                 understatement.                            Just            to

           clarify,        if this         were         a piece          from        Crate         & Barrel                 sure             I
           would           be    upset,           but we           are    talking           about             a piece             that           was
           bought            as an          investment,                and       over          $6,900.           Since              I was
           aware           of the          value,        I opted          for their             insurance               which                was
           to cove           me for          $10,000.


           I receive             an       ambiguous                email         from          their        Customer
           Service              Dept - I say               ambiguous                   as it was               signed
                                   service"
           "customer                                     (no    actual           name            of a person                     to follow-
                                                                                                    vendor"
           up with).             They        tell     me       to contact              "their                           All
           Furniture             Services               so they          can         come         and          assess              the
           damage.               AFS        arrives        three          days           later        - the
                                                                                                              guy tells me
                                                                                                 it"
           how        great          he     is, and         that     he can             "fix            Fix it? Even      if
                                                                                                          it"
           AFS        were           miracle          workers             and        could         "fix         the piece
           would           no    longer           have         the     same            value.


           To add            insult        to injury,          I needed              to call           20      people             to tell
           them        to firid           altemative               arrangements                       for the         holidays                    as
           I now        have          a large           piece        of fumiture                 sitting         in my kitchen
           and        my      kitchen            fumiture            in my        living         room,           so clearly  I
           cannot            have          people          over-         another            big thank                you         to Flat
           Rate        from          my     friends         & family             whose             holiday             plans            were
           cancelled              the       day       before!


           I then       receive             an email             to advise               that      my         claim         is now
           "closed".             They         have
                                               graciously                            decided             to offer            me
           $250.00              as a "courtesy".      So Flat                            Rate          just     damaged                      a
           $6,900            piece         of furniture,             arid        their         idea         of settling             my
           claim       is to offer               me      $250.00?               They           said         I can      have             it
           repaired              by AFS           for      $450.00.             As     per       Flat         Rate,         I have                a
           $500.00              deductible               so while            they state that                     they            will
                                                                                 furniture"
           "repair         or replace               any damaged                                                  in actuality
           you       are      the     one         who pays for the                         repair.            I am far from
           obtuse            so what             am      I missing           here?


           I still     have          the     broken            piece        of fumiture                  in my         kitchen
           (where            their         men      promptly             dumped                 it) and         my      apartment
           looks       as though                  I just       moved-in,               instead              of just         being
           redone.


           Flat       Rate        is not disputing                   that        the       caused              the     damage                     -

           so the          big      question             is why          would           arly     reputable                  comparly
           not take             responsibility                 and       offer       to replace                 the     piece?

            They        are         under         the      misconception                       that      an offer                of $250.
           will      cover        my        inconvenience                       Inconvenience                         doesn't                even
           begirl       to describe    what                      I have          been           through              - all due               to
                      Rates'
           Flat               negligence.                      They             have        decided              to wash                 their
           hands           of the          matter          I on the          other          hand            have       not.



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             I called        Customer         Service          to ask        for the      name/email
             address          for    someone          on their        management                     team.         Nope
                        - "we                                          information"
             sorry                  cannot     provide         that


             I work        in management               for one          of the       largest           privately
             owned           companies          in the    U.S.        We gladly               provide           contact
             info     for arlyone          irl our    comparly.           Why?           - because
                                                                                                                  any
             company            with    iritegrity     actually         WANTS             to hear              from      their
             customers              -whether       for a compliment                     or complaint.                   That
             is what         good      companies          do.     That        is what          ethics           and     good
             business           practices       are    all about.            Clearly          Flat      Rate       has
             norie.




                     All (160)         Michelle's    Photos     (5)                                                                                                                    Search photos




                                                                                               9/25/2015
           Marillattari,       NY
                                                       I moved           in the        erid      of July         just      across        the      park.         Movers
                 1 frierid
                                                       took      a chunk            of wood
                                                                                       of my dresser.   out                                      I bought          extra
                 5 reviews
                                                       insurance   with Flatrate   for $150.      When                                         I filed       a claim,          it
                                                                                        'process'
                                                       took 2 months     for them   to               and                                       they       claimed          that
                                                                                                    tear'
                                                       the damages     are 'normal     wear    and                                             (?!)


                                                       The      worst        part      is when            I called         and         complained               they
                                                       were       rude,       didn't          listen      and         spoke        to me as if I were                    a 5-
                                                       year      old.


                                                       This     to      me    is fraudulent                    business           practice.           I have
                                                       pictures          of the        damage              and        I cannot          believe          they     treat
                                                       customers              so     poorly          when          there         are    so marly             moving
                                                       companies               out      there          to choose            from.


                                                       I would          NEVER            recommend                      anyorie         to Flatrate             again.          In

                                                       fact,     if anyone             asks          me    about         movers,           I will     tell    them        to
                                                       RUN AWAY                  from         Flatrate.


                                                       Very,      very       very       disappoiriting.




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           Rupali    D.
                                                                          1/30/2017
           WALL     STREET,   NY
                                   We had           an AWFUL                   move          with      Flat      Rate      that    was
               69 friends
                                   marlaged              by Larry          Petrakakos.                     He came          highly
               11 reviews
                                   recommended                 via the              downtown                  moms        group.          He was
                                   great         through         the     initial       sales          process           however           the       post
                                   customer              service         by him            and       the      comparly            has     been

                                   absolutely              awful.


                                   We even               purchased              the        additional           insurance            to cover

                                   any additional     damages.    To sum it Up they split our DWR
                                   Teak dining    table  in half, cracked   all the corners    of our
                                   Environment      bed and the head      board   will not line Up

                                   evenly,         bent      the       arms        of our Arektipo                  sofa      and        now        we
                                   have      a permanent                   creaking               noise         when       anyone          sits      or
                                   stands          up.


                                   They   took            over      3 months                to resporld            with     a resolution                  to
                                   the claim,             I have       yet      to speak              with      a live     persori         from          the
                                   claims         department,                Asha           the      claims        manager              is utterly
                                   RUDE           and       has     no     manners.                 I just      don't     think      it's fair        that
                                   these         moving           companies                 can       charge        for the        cost        of

                                   moving,          the      additional               insurance              and    when          time      comes
                                   for the        claim      they        just      brush          it aside         and     don't        even
                                   reimburse              enough           for the           cost      or fixing         or replacemerit.


                                   So      I want        to take        this       to court,           and      would       love        arly
                                   additional            direction           because                I don't      know       where          to start.             I
                                   know          for small          claims          it is orily         Up $5000            and      you        can       file

                                   yourself,         but      I need           help        finding         an    attorney          and         how       to
                                   file    the     claim      with       the       courts.          Any       thoughts        or assistarice,
                                   or if you         have         experienced                  this     yourself          would          love       to
                                   hear      how         it worked           out.




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                   Bashi       A'
                                                                                         6/10/2017
                   Miarni     Beach,    FL
                                             Unbelievable.                    When             I looked             for    a movirig    company     I had
                         194 friends
                                             several          ones           coming            in and            decided       for flatrate   because
                         149 reviews
                                             they      said        they       can        provide              the      movirig             dates           I needed.                 I
                         29 photos           had      the     minimum                 yet         put     1700$.             When           the        movers            came
                                             I got     pressured                  to tip which                 I was            gonna            do     at the
                                             location         when            it's the          delivered                 but  oh well.They                         told          me
                                             I had         to tip twice             minimum                   20%          I gave them      the                     location

                                             they      had         to move            it to and               signed            it on      top        of that.          So
                                             after     five        days,          I called          in to find             out     where               my      stuff       is that
                                             and      surprise             surprise               it was         storages               in New              Jersey            arid
                                             never          shipped             at all.        So when                 I asked           why they               said          ch
                                             well     we      didri't        have         an address                      to ship        it to? Yet              I gave
                                             them          every        information                  they        needed,                my        phone          is on
                                             24/7      and         on top          of that          they         got       paid      before             even           picking
                                             up my          stuff.      So        now        I have            nothing            to sleep              on,     neither
                                             do      I have        clothes               nor      anything                to cook           in! There               solution
                                             is literally          nothing!              They           didn't       try to find                a solution              right

                                             away          they      only         said      well         I should            wait        till     Monday               arid
                                             see      what         happens!                It's     ridiculous!                 I shipped               that     stu1T a
                                             week          before          I even          got       to miami              on      purpose               so I don't
                                             need          to stay        without              anything              and         don't          end     up      sleeping
                                             on      the    floor!        I'm      so miserable                     and         unhappy!                Don't          use
                                             this     company!                They          take         your        money              full      and       don't        give            a
                                             shit     about          you        after!       Nobody              followed                up with            me or tried
                                             to find        out      what's          up!       unbelievable                       bad           service!




                   Jan        E
               .
                   Marihattari,        NY
                                               ¤¤                                        11/9/2014

                                              I'm     not     sure         I've     experienced                      better...but                 surely         no worse.
                           3 friends
                                             The       movers              broke          two        very        expensive                  tables           due        simply
                         21 reviews
                                             to carelessness                        and        not       caring.           I found              out     after       I was
                           1 prioto           lied     to by the             fellow         in charge                  and       after          I had       tipped            them.

                                             Today          my sori got on my exercise    bike                                                  only    to have               a
                                             major          piece fall off. The movers simply                                                   put it in place                   so I
                                             would           not     see        it was          broken.             Boxes           delivered                  to the

                                             wrorig          room          is par         for the             course.           This        is too          much.


                                              New          RULE         #1:        NEVER                tip    movers              until         you     have           gone
                                             through           ALL         your       things.             They         can        wait.




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           Roger       D.
                                                                        12/18/2017                .           Updated             review
           Marillattari,    NY

                0 friends
                                 FLAT          RATE         MOVERS                 are     not     serious,           horlest,            or reliable
                                 movers           at all.
                4 reviews
                                 I was         robbed        by their          movers             almost           10 months                  ago,     no

                                 initiative,        no      interest          whatsoever               to compensate.                         Their
                                 offer     was      close        to $300            00,     when            the     losses         where             over
                                 $15,000.
                                 Management                  disappears                  when         the     problem              is presented,
                                 no accountability.                    They         hire    the       lowest          possible
                                 employees               in general                upset         in workirig           for    such            cheap
                                 employer             and      they         take        advantage                 of their        clierits,
                                 robbing           stealing       whatever                 they       can.         That      happened,                 and
                                 the     top      managers             just     disappear               from         the     scene            when
                                 the     problems            occ       r.
                                 Now       litigatiori        will     take        place     representirig                   a few         of us,
                                 who      su1fered           substantial                damages.         They              will      be
                                 penalized            by the          NY      pertinent           Agencies.
                                 DO NOT FALL                    INTO           THEIR         TRAP,            THEY           ARE          NOT
                                 TRUSTWORTHY                            HIRING             THE         LOWEST                POSSIBLE
                                 CLASS            OF EMPLOYEES.
                                 Keep   away   from                  such       dishonest              business.              We suffered
                                 damages     which                   remains             unpaid        for        almost      one         year

                                 req      iring     legal      suit!!!!




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                                                         3/17/2017.                   Previous              review

            FLAT           RATE          experience                   has         been         the     worse             possible.
            There           is no      responsibility                       no     management                        arid        worse            no
            accountability.
            This       business             is listed               as orie          with        most         dissatisfied
            customers-                here         with         well        OVER              1000                                           but
                                                                                                           PROBLEMS,
            they       don't        publish             those          in     their          Web       site.     There             are       suits
            against           the     business                 and          Israel        Carmel,             despite              David's
            defense            and        tricks          iri dealing              with        those          critical           issues.
            We suffered                  substantial                  financial              losses           as one             of the
            workers            of the         crew             is apparently                   trained           to execute
            thefts         while       pretending                    to work              in the       moving,              and upon
                                          a certairi                individual               called         David          - in charge
            complaining
                                                                                                                         'problem'
            of Compliance-                        promised                  to make            up for the                                         , le
            someone                 who       is a gangster                      type        himself            used             to put
            pressure               on the          clients             hoping             that       the      situation             is
            forgotten              and     he can              keep           tricking           people          into        more
            moves            and      more              business.              The        problem              with         FLATRATE
            is that         they      don't         scrutinize                their       movers,              hiring            anyone
            that      show          at their            doors,         some             with       terrible          criminal

            history,         they still hire    paying                            an      insignificant                  amount              for
            the      low     class  scum     help they                               hire,     while          charging
            premium           amounts    from                        the       customers.
            This       individual    - David-                        called             himself            a lawyer              has        the
            job      of deciding                 who          represents                a risk        of bringing                  them           to
            Justice          through              suits        or not.           The         way       he does              this       is
            through            High        pressure,                 they         are clearly    against                         women.                If
                                                                                              'lawyer'
            a man           makes           the         claim,         this       so called                                  deals
            differently.
            He yells            he       accuses               the      client.          he uses              and        abuses              of
            women             clients.
            We are            now        hiring          a specialized                       Law      Firm        to sue            Flat
                           Israel        Carmel               and      David-            the       terror                   who          has
            Rate,                                                                                               guy,
            the      job     of making                  fun     of the           clients,            as we        are            serious
            people           who         believed              they         were         a serious              busiriess.

            They           lie, they        misrepresent,                        and         worse,           they       endorse               the
            employees                 who          rob        the      customers,                    while       we         are     paying
            them       to do the                 move.
            We have                been          victims            of this          moving           Co.        who             should           be
            out      of business                  soon,          as dishonesty                       doesn't           go a long
            way.
            We will           pursuit            this     legally,            and       are      now          trying        to have               it
            as a group                action.
            FLAT           RATE           will     not        continue               abusing            of women                   at their
            own       discretion,                 hoping            that       the     public          will     be       silent.            NO
            MORE             USE         ANDABUSE,                            ROBBING                  THEIR              CLIENTS
            IN THEIR                OWN HOMES                           WHILE                PRETENDING                            TO       BE
            IN THE            MOVING                    BUSINESS.




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                                                   2/22/2017             . Previous              review

           Beware            of those            movers.
           The       Co.     used         to be       responsible                and          honest.
           More       recently             used      them,         and       what         a disappoiritmerit!

           They       use the          lowest            less     qualified             workers,          and        I was
           victim      of theft           by one          of them,           who        blocked           my        entry       to

           BR,      so that         he could             execute           his     plan        of action.            He took
           the      Jewelry         left the          Box       in the       closet.
           Upon        opening             the      box on final             destination                 immediately
                                                 'recommended'
           reported           it. They                                             not        to report        to the
                                                            'remedy'
           Police,         that they             would                            the     situation,           but        never
           happened.
           Management                  is as        dishonest              as their            low     type
           ernployees               riot    trustworthy,              really        the        scum        in the
           Industry.          Not     only        they      are     liars,        they        quote       a fee           and
           then      in the        middle          of job         increase              the     price      based            on the
           chaos          created          by the         employees.                They         don't        follow

           directions,      they dori't receive   guidelines                                       by management,
           so we        were at their own 'direction',     and                                    because   of their
           lack      of judgement                  this     Move           cost     us double                 the     price
           quoted            PLUS          victims         of theft        by employee                    who        basically
           blocked           access          to the        area       he     should             not     touch-

           specifically            told     DO NOT touch.                        They          do what           they        want
           now       we      have      to sue         them          already             went          to the        Police        and
            next      will    be    an alert          to the        public         to avoid             such        scam.
           THIS       COMPANY                     IS A SCAM......
           Dissatisfied              old     client        who      has       been            robbed          inside         her
           own       home          by the         Movers!




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                           Ayca      A'
                                                                                                                   7/18/2014
                           Brooklyn,          NY
                                                                      Somehow                     all my      friends           recommended                        Flatrate         to me,
                                  3 friends
                                                                      and      I had         a terrible             experierice               during            my first       and         last
                                  29 reviews
                                                                     time       moving              with      them.


                                                                     We had                a crew           pack       our      stuff.     move            it to another                 city,       and
                                                                      unload           it at the            new      destination.                 Not     only        has      almost

                                                                     every           large         piece       of fumiture               we       own        been          irreparably
                                                                     damaged                 due          to careless             handlirig,              but    as       I cor1tinue                to
                                                                      unpack               boxes          I find     things       carelessly                 tossed           inside.            I

                                                                      recently             cut      my      hand       on       a piece    of broken                      glass      while

                                                                      unpacking                   a box,       because             the      movers              who        packed            our
                                                                     things          just         threw       a framed             art piece              in a box          without

                                                                     wrapping                it     and      of course             it broke.            We paid             over         $6,000
                                                                     to move               with      Flatrate,           thinking           that        we      would         get       a higher
                                                                     end       experience.                   I am       livid      and      speechless.


                                                                     We also                recently          discovered                 that      our       bed      frame         that         was
                                                                      assembled                    with     two      legs       missing.            The         screws            had      been
                                                                      lost     by the             moving           crew,        and      rather          than       letting         us     know,
                                                                     they       hid        the      legs      that     they        could          not     attach,          and
                                                                      assembled                    the      bed      piecemeal.               We have               been          sleeping
                                                                     on      a bed           that        is not      secure.           I have         a small          child        who
                                                                     often          shares           this     bed      with        me      and        I cannot             believe         that

                                                                     they       would              put     us at risk           like     this.


                                                                      Movers               were      friendly          and       completely                  incompetent.




               n N.
                                                                                           11/21/2017
           Manhattan,      NY
                                                   The      team     which           moved           orie      of my         tenants             really         sucked.
               1 friend
                                                   They      caused          damage                in hallways               and       to front          door.
               71 reviewS
                                                   Trying     to get         someone                to discuss?                 Forget           it. So      now       I
                                                   have      a clause          in my          rental         riders.        Anyone              who       chooses
                                                   to use     Flat     Rate          has      to post          a CASH              bond          of $2500
                                                   before      using         Flat     Rate          to move            in or out.           No more                Flat
                                                   Rate      in my     buildings.




           Edwin      T.
                                                                                           10/5/2016.                O       Updated             review
           Rego    Park,   NY
           9                                       Never      ever     use          this     company!!                They         are     the     worst!!
               5 friends
                                                   Broke      soo      many          things          and      took         us forever             to settle           the
               7 reviews
                                                   claim.
               1 nhntn



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           Paula     S.
                                                                            11/8/2017
           Marshattari,      NY
                                  I was        quoted             a rate        of $1200                with        a past             customer              credit
                307friends
                                  of $100.            I provided               the       salesperson                      I have          been            dealing
                5 reviews
                                  with       over       the       past     few        years              an       itemized              list of what              was
                                  to be       moved.              When          the       foremen                 came       to my door he
                                  insisted           that      I had        much              more          than        what   I told them on
                                  the      phone            which        was         not true               and         he     held       me        Up for
                                  another            $500         before           he made                  the      move            and       he insisted
                                  on      Cash        only!          I was         in the         dire        straits            because             I had         to
                                  move         that         day     and        I had          no way              of getting              another               mover
                                  so quickly                so I hesitantly                   agreed              to give           him       the
                                  additional             $500         and         he promised                      me         he would              have          me
                                  out      of the        apartment                that         day.         When             I paid       him        he never
                                  gave        me        a receipt             and        as he was                  moving              my things                he
                                  asked          me         to start       packing              Up my              kitchen             and      my
                                  bathroom               which           was        there        job        and         towards              the     end         he
                                  left    everything                in the        kitchen              and         told        me      he was             finished
                                  I said       what          about        the        kitchen?                 He said               ch you're              taking
                                  that       too?       I said       of course                 this      is a move!I                   called         Flat       Rate
                                  because               I use       them          last        year       and        they         were         fabulous                and
                                  I was        very         confident             in their            service             so     I called           them
                                  again        because               I had         a delicate                 bedroom                  set    and         other
                                  items        to move              and       I wanted                it to be taken                    care        of
                                  properly.
                                  As       he was            wrapping   everything                             up I told him to please
                                  be careful                with the bedroom       set                         as it was fragile. he
                                  assured             me       he was           packing                everythirig                  up very           carefully.
                                  When          they         uripacked               my        things          in the            new         apartment
                                  there       will      cracks           and        breaks             everywhere                      throughout                the
                                  bedroom               set!      Scratches                   all over            the        bedroom               set,     tape
                                  marks          that        couldn't           be removed                     and           permanently                   scuffed

                                  up the bedroom     set.                         They          put         tape        directly           on the           wood
                                  rather than wrapping                             it up        in padded                  cloth         before            packing
                                  it.
                                   That       night          when         I went          to sleep                on the            platform              bed     I
                                  noticed            that      one       of the          legs         was         moving             outward              then        the
                                  rails      started           moving           outward.                 Towards                 the      morning               the
                                  entire       bed          collapsed             with         me        on       it! (See           photos           in Link
                                  photos.app.goo.gl/FdZzJB...).                                             I hurt           my legs as they                      got
                                  tangled            up in the            wood           and          the     entire          bed was flying                      all
                                  over        my      bedroom,                pieces            everywhere.                      I tripped            over        the
                                  rails      and        my     legs       got       tangled              up in the               wood          as I was
                                  falling.         I bruised             my     legs          terribly            (See         photos           in Link

                                  goo.gl/photos/rrnJBApsuV4...)                                               and         hurt      my       ankle         and        my
                                  knee        I was          in terrible            pain        and         I thought               it was          broken.             I
                                  went        to the          doctor        for      an x-ray  and he said that I
                                  damaged               the       muscles             and ligaments   around  my ankle




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           and       I must         ga for         physical                therapy              twice         a week              far       a
           morith         to gain         strength              and          recuperate                      my     arikle.
            The       next        morning,             I called             arid         emailed              the        sales          person
           at flat       rate     with         no resporise                      that      was          a Friday   Saturday,
           Sunday            arid       Monday.                I had          ta sleep                 an the floor and my
           entire        bedraam               was       in pieces                   because                 he did            not      put      it
           together             with     screws               he just            puzzled               it all together                  arid
           left     it stariding           there         using             rio     screws              rio    hardware                      I was
           livid     because              not     only         did     they          destroy                my entire
           bedroom               set     but     I injured             myself              and         I was            held      up for
           mare          money.

           Finally,        I received              a call           back           from         flat    rate        on      Moriday
           and      they        told     me      that         I can         only          submit             a claim             arid       they
           would          refurid        me      $150           back.             The        claim           if approved                  only
           would          comperisate                  me for           a very small  percentage     of the
           value         of my furniture    arid                       would  riever make    up for the
           damage.          They    did serid    Carpenter's                                       out        on        Manday                who
           were        iri shack           wheri         they          saw          the      damage                 of my furriiture
           in my         apartment               and          the     condition                 the      movers                left     me
           and       my      bed.       They         saw         the        injuries            an      my         legs        arid      they
           were        fur!ous          and      said          that        I should              riot pay a periny   for
           this     move          because              it's     completely                      unprafessiorial.   They
           saw       firsthand            the      way         he      left        my      bedraam                  set        not      using
           one       screw          because              apparently.                      he lost            them         all arid            didri't
           know          where          they      were          and          had          no kriawledge                        of how            ta
           put      my     bed         together.              They          told        me       I should               sue       FlatRate
           because          of my injuries   and shouldn't   pay a cent.
           I told      FlatRate   I dori't warit ta pay far this service                                                              and        I
           want       to be reimbursed,                             they         ignored               me     and         just        said
                                 "Sorry"
           that     they were                                  they          orily        gave          me        a credit            back            af
           $150!         I could         barely          walk          the         last      marith               I'm     in agony               arid
           I must         take         off fram          work         twice             a week              to go for             physical
           therapy.             I iricluded          pictures                and          the     doctor's               prescription
           far     physical            therapy           and          the        emails           correspandirig                        ta the
           inciderit         fallowing             the        delivery.              I am         Furiaus!               There           are          no
           wards          or excuse              far this             Disaster               and        I refuse            ta pay              for
           this     nightmare.                 I warit         campensatiori                           because                 I must           buy
           a whole           riew        $3,500-bedroom                              set


           There          are     many          reputable                   mavers              who          warited             my
           business              and      I went         with          Flat        Rate          thinking               they         were
           professionals                  but      appareritly                    not.




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                                                                                    7/2/2018
           Manhattan,          New York,
           NY                              We scheduled                     a ane           bedroam                mave           and       estimatar              came
                                           ansite       and      quated             a price            far     packing               service         and       mave.
                Qffriends(I
                0
                                           He estimated                 a five         hour           move.          The          day      af rriave           the
                2 reviews                  team       arrived          ane         haur        late      and         short        two       rTien.   They
                                           eventually           took          13 hours               to rriave              our      one       bedraorri
                                           apartment            and          did      not even               take        all the        furniture            on the
                                           manifest           They           didn't         wrap         the       mattress             and         the     truck
                                           was      leaking           sa it arrived                  wet.      They            had      a new           yaung          kid
                                           an    the jab        who          dropped             an expensive                        price         af furniture
                                           and      cracked            it. The         foreman                just       laughed!              It took       an
                                           additional          3 days              ta get        the         remaining               furniture              We had
                                           ta keep          calling          for hours               until     we        spake          with        sameone
                                           wha      told     us people                didn't          show           up for work.   Finally   they
                                           gave      us a price               adjustment                     but     after numerous      calls and
                                           pleading.          Customer                 service               was      terrible             and      their      own
                                           employees             talked             badly        about             the      corripany.              The
                                           estimatar           David           Llayd           did     a poor            jab      estimating                and      we
                                           were      tald      my      rriultiple           employees                    that        he was             notarious
                                           far that.




           Marjorie           B.
                                                                                      i 2/5/2016
           Narberth,          PA
                                           Da       NOT use             this       company.                  They         smashed                  my     furniture
                Qf        (I
                                           and      the      foreman               an the            move          asked           me to hurriedly                     sign
            6   2 reviews
                                           samething,                 but     "there           would           be no           problem             bc I'd get               all
                                           af rriy      maney           back".

                                           Apparently               I needed                additianal               coverage.                 My       salesman.
                                           after     the      fact.         admitted            that         he didn't            affer        rTie the
                                           additional           caverage                  by     mistake,                but w/o           it we        were         left
                                           with no recaurse.
                                           I'
                                              ve called at least                      5-6      times          asking    for a claims
                                           supervisor.              and        I'rri tald        that         a supervisor    will call                        me
                                           back.       They           haven't          ever          called          rrie      back        ance         in 5 months
                                           af trying         to contact               them.
                                           When            I contacted              my         lawyer,             he told         me       he had           the      a
                                           harrible          experience                with          Flat      Rate          Maving            as well.

                                           They        are     very         disreputable                     and      dishonest                .
                                                                                                                                                                  doesn'
                                           I'rTi anly        giving          it a star          bc if I leave                  them        all blank                              t
                                           past.




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           Dustin   D.
                                                                        10/i/2016
           New York,        NY
                                 Brake       $2,500          worth          of furniture            and      wouldn't           pay     for    it.
               Of      (j
           ~   26 reviews
                                 The      rnave       started          aff great:          the      guys        showed          up on time,
                                 were      very      vice,         very      etTicient,          etc.     But    then        when      they
                                 unloaded,            they        mentioned               thatthey brake    a chair.                     and         it
                                                                        one"                                                             don'
                                 was      "the      really        vice                  Ta their credit  (and I still                                t
                                 fault    the      movers            themselves               â€”
                                                                                                things                                        were
                                                                                                                happen),         they
                                 very     forthcoming                and      quite        upset.         I tipped       them         well
                                 because            I figured         a company                  with     such       positive         reviews
                                 would       simply          do      the     right      thing.      And      thev       we    found
                                 another         brakev           item.


                                 After     some        back-avd-forth                     whev          I submitted           the     claim
                                 with     pictures           (and       my     having            to fallow       up     multiple         times
                                 far     a response             over        the      course        af three          weeks),          they     said
                                 their     policy      would          only        allow       them        to pay        me     $135.
                                 Ridiculous.


                                 Apparently you                   have        to buy additional                  ivsuravce             far them
                                 NOT ta damage                       your      belangivgs    and                 hald    themselves
                                 accountable.                Silly      me.       And     I was not properly      ivformed
                                                                                            I'
                                 ahead          af time.       which          is why           ll be filing a BBB complaint.


                                 Save       your      time        and                      - go      elsewhere.
                                                                            money




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                   Law           E
                                                                                     6/16/2017
                   Marshasset,       NY
                                          Do       not     use        this     company!!!                   I wold         give        them          0 stars          if I
                       27 friends
                                          could.          The         movers            damaged               my      walls        when             trying       to
                       3 reviews
                                          move           the      bed        into    the     bedroom.                Orle         of the           movers
                                          wanted            to do the               job    quickly          and       didn't           want        to take           the
                                          time       to do        it properly.               He shoved                the       bed         through           the
                                          door    causirig    damage     to the walls                                     and          doorframe.               In

                                          addition,     several   pieces    of furniture                                    were            damaged                and

                                          they       scraped             my         brand         new       wood          foors          in the        living
                                          room.           It is not          a little      nick,     but       deep         gauges                 in the     wood
                                          that       are       very      noticeable.               The        amount              of money              they          gave
                                          me       in damages                   was        almost          rionexistent.                    I had      to keep                on

                                          calling          and        leaving             messages             for     a woman                     named         yasha.

                                          They        didn't          reimburse              me      at all for the                wood             floors.        After

                                          many           months              of calling yasha                   and        leaving             her     messages

                                          Irinally         spoke             to her and said                   they        were very                 unfair          in
                                          their      reimbursement                         amount             and     gave             me      nothing           for the
                                          wood           floors        which         were          very       expensive.                 She         wound            up
                                          giving          me a little               more      money.            I was          still dissatisted       but
                                                                                                                                           "gatekeeper"
                                          the      woman              who       answered                the     phone             was a
                                          and        yasha         was         never         available              and      never            called          me
                                          back.          She      was         dorie        with      the      matter.           Very          uriprofessional
                                          and       they        hope          customers              will      get     fed        up trying            to get
                                          satisfaction                 monetary              compensation                      and          will    give      up.         I
                                          am       considering                 taking        them           to small           business                court.         I
                                          darl't      want         anyone             else        to be treated                 so      unfairly           and        let
                                          flatrate         think        they         can     get     away           with       it. BEWARE!!!




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           Da       I   a
                                                                      10/14/2013
           Boise,   ID

                              Well,     here        we      go.      Sorry         to be the              bad       guy.
                269 friends
           O    52 reviewS
                              I'm currently              filling      out      claims           forms           with     Flat       Rate         Moving
                              and      its looking             to be adding                   up to $2000                  in damage                    alter
                              a long      distance             move           from         Providence,                   RI to Los

                              Angeles,           CA.        This      was         for a cross                country,           one      bedroom

                              move,       with        FRM          providing    one                  month          of free         storage.                I
                              realize      that       these         huge     moves                  come          with      their       risks,           but
                              the     damage            that       we       experience                was         clearly         a product                 of
                              negligence              and       irresponsibility.


                              Upon       arrival         in Los          Angeles,               multiple           boxes          had        clearly
                              seen      some          EXTENSlVE                         water        damage.              Boxes          were
                              crushed            deformed                  and      ripped           due        to the       soaking     they
                              received         somewhere                     along         the       way.         The       boxes    conterits

                              (books,         household                 items            and     clothes)              were       not      only
                              musty       and       damp,            but      had        extensive                mold       damage
                              throughout.               Blue        black,          green            grey         0 you       name           the
                              color     mold        and        it was         present.


                              Whoever             handled            these          boxes            could         easily       seen          their
                              state     and       made          a report                or took           note.        Some         boxes            had
                              been      clearly          opened,             checked                on,      and       re-wrapped                   with
                              shrink      wrap.


                              I held     a grey hoodie                 - and                                                                        a tie-
                                                           up the suri                                             it almost            had
                              dyed      appearance     from the di1ference                                         colors         of molds.


                              I am      NOT happy                  with      the        move.          While           I'm half         way
                              through         their       claims            process,             I can       easily         say       that      I wont
                              be using           Flat     Rate          again           and      now        understand                why           their
                              price     seemed              so competitive                      to other           movers             (Oz

                              Moving,         PODS,             Door         To Door,               Allied).


                              Very      disappointed                  to lose            items        that        meant         a lot to            us.
                              Please       consider                different            companies                  if going         cross

                              country         or when              usirig        their        storage.


                              UPDATE:              10/31/13              - Flat         Rate        has        coritacted             me      twice
                              since      my      claims            was       put        in. I have           contacted              them            7

                              times,      with        TWO          of those              being        a voicemail                 or email
                              both      extremely              vague           arid       uninformative.                    If you       are         trying
                              to get     a hold          of Marilyn                in claims,             get      ready        for the          phone
                              to ring     off the           hook.         Supposedly                   my       settlement              has          been

                              completed,              but
                                                     they wont  tell me                                   the     amount              how        I can
                              expect       it, or how I follow up after                                   I receive           it. This         is

                              insane,         and       this       company               should            have         a C rating             with         the
                              BBB.


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           WIvia        a
                                                                           9/25/2017
           Montclair,       NJ
                                 DO NOT USE                       FLATRATE                    FOR STORAGE.                             When            I
               0 friends
                                 received            my        belongings:                  1) My area   rug was rat/mice
               2 reviews
                                 urinated           and        chewed             upon,        2) As I used  them  for movirig
                                 to the      storage              Unit,      they       demanded                   that     all dresser
                                 drawers            be emptied                  into        boxes.          I also         had     5 wardrobes
                                 of clothing.                 AII of the         clothing            and         my       mattress          were

                                 musty        as if stored                in a damp                 basement.                More          horrifying,
                                 all clothing              items       were         infested              with      dead         and      alive
                                 moths        and         their       larvae.           I had        to dispose              of 4 wardrobes
                                 and     2 boxes               of clothing              as they           were        beyond           saving.                  I
                                 have        had         immense             expense                in the       washing             and      dry
                                 cleanirig          of the         items         that        were        salvageable.                  Read            the
                                 storage           contract           carefully:               It states           that     they       have        "no

                                 liability        for    damage              to goods               by    inherent           vice,        moths,
                                 vermin           or other          insects,            rust      fire, water,              changes               of
                                                                                               deterioration."
                                 temperature,                  fumigation                or                                       3)   The
                                 movers            stole       $200         of costume                   jewelry          that    were        in the
                                 drawers.


                                 My     initial         charge        for     my        storage            for 29         moriths         was
                                 $224/mo.                Then         they       doubled             their       fees       to $422/mo                 for
                                 another           29      months.               For        5 months,              fees     were          raised           to
                                 $462/mo.                So,      after      5 years               in storage,             I paid      $21,044                  for
                                 storage.               The     f at rate         does         not      apply  to storage.                      After

                                 paying           that     much           in storage,               it is unconscionable                          that          my
                                 belongs            were          returned             to me         in the        condition           they        were.


                                 Of course               I submitted                a claim.             They         settled        on     $360
                                 (which           I haveri't          received              yet)         60 cents           per     pound.             This
                                 amount            does         not       even         replace           the     carpet.


                                 Their  moving    teams                       are       very disgruntled   with their
                                 employers     and their                      work        ethic was a1fected    by this.




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           Man      W.
                                                                                  9/9/2017
           Isle Of Palrns,

           Charleston,        SC        I would          give      zero         stars        if that        were         an option.               The        orily
                                        positive          I have          to say         about            this     company                is they           did
                0 friends
                                        respond            irlitially         irl a timely               manner           and        at the         beginning
                 10 reviews             David                                                                    was                   responsive.                      We
                                                       my       moving            coordinator,                             very
                                        were       moving               from      NYC to NC.                     The      day        of the         move              was
                                        ok.       The movers                   were         on time              and     packed            our       goods
                                        quickly.           And      this        is where             it all fell         apart.           I never           heard
                                        from       our      moving             coordinator                 again.            We were                told     our
                                        window            for the         delivery             and        I called           multiple          times         to
                                        narrow           down           the     date        as it was             over    a holiday   and my
                                        husbands                50th       birthday.               They          actually   delivered    outside
                                        of our      contractual                  window              (delivery             was       a day          late         past
                                        the     promised                date)        arid      all they           offered           for    a
                                        compensation                     was         $60       towards             an air         mattress.                 We
                                                                 asked           to speak                to a supervisor                   - were           told         one
                                        repeatedly
                                        time that           one         would         call        us within            the     hour        which            never
                                        happened.                 We had                multiple           items         broken            and       have             not
                                        received            (2 months                later         and      multiple           phone            calls        later)           a
                                        clear      method               of claiming                the     broken             items.        I will         never
                                        recommend                  this     company    and would    NEVER use them
                                        agairl.         And       we      are a former   military family so I know

                                        exactly          how       a move               should            take      place!




           Chylla    S.
           San Francisco,          CA
                                         UD                                      8/16/2013

                                        Just      wanted          to quickly                point         out     that       they      were
               6 friends
                                        astronomically                   expensive                 for     a move             from        NYC to SF.
               7 reviews
                                        The       movers           themselves                     were          actually          very      friendly,                 fast,
                                        and      easy       to work             with.        That         part      was        all fine....


                                        A1ter     my       items         arrived            in SF,         it took        me        a few       days             of
                                        intense          frustratiori            and         looking            through           everything                 I

                                        packed,           but     I discovered                    that      somewhere                     along        the        way,
                                        someone             working              for them                STOLE           a laptop              I had        in one
                                        of my      boxes.


                                        No amount                of money                can        compensate                    for this,          as      it had
                                        years      of personal                  information,                    pictures,           music:
                                        documents,                and         artwork             that     can         now     never           be     retrieved.
                                         Be VERY                careful         what         you         put     in those            boxes          arid
                                        expect       that        there         are      thieves            working            for this          comparly.




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           Camon       K
                                                                       11/7/2014
           New York,     NY
                              These          guys       are     not       professionals.                      Broke         multiple       pieces
              1 friend
                              of furniture             during         the      move.               To be fair,        they      did     pay      for
              38 reviews
                              one       piece         (a mere          $90)          and        repaired         another.
              a photos         Contacting              them          through              the      claims        process         was      a
                              chore.         They         don't        call     back            when        promised,           and      the
                              owner        only        contacted               Us after             seeing       these         reviews
                              online.         While          this     issue          is settled,            people          should       know
                              that:


                              1 - CHECK                EVERYTHING                          AFTER              YOUR           MOVE.             One     of
                              the     movers           taped          portions              of a lamp because      the fixture
                                                                                          it."
                              was       loose         and     to "protect                      After fully removing     the
                              tape    today           to replace              the        light bulb, we found      that the top
                              portion     was           completely                  cracked.             I'm     pretty        sure    they
                              taped  over this to cover   it Up and said nothing.
                              2 - You have to keep    hounding      this company      to do their
                              job - DO NOT assume       things   will sirnply  fall in place.    We
                              blocked        off a Saturday    to await   delivery                                     of a repaired

                              vanity      table.   For reasons     unexplained,                                       FlatRate          felt    the
                              need       to drop            off only          the        drawers         in the       lobby       of our
                                                without         the       table          itself.       No call,        no explanation                  -
                              building
                              only      a wasted             Saturday                aftemoon.                Only     after     screaming
                              at them           did    they         deliver          the     table      itself       three      days      later.


                              This      is the        kind      of service                we       received          from      FlatRate.
                               The      experience                  was       nothing              but terrible           (repeatedly
                              through           the    er1tire        protracted                   process)          and     wasted
                              significarit            amounts             of our           time.




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                   Lopa       V.

                   Boulder,        CO
                                            ¤¤                                       6/16/2015

                                        THIS            IS A REVIEW                      FOR FLATRATE'S                              ELITE          SERVICE.
                       71 friends
                   O      36 reviews
                                        I am just              going         to post           the     letter        I am      sending            to
                          3 photos      FlatRate's                Executive                staff,      because               it says         it all and             it's
                                        faster           and      easier           and        more        efficierit          (I mean...these
                                        people            that       write         reviews            all day....mad                 respect,           you          help
                                        my       life     out        but      I just      don't       want        to spend              that      kind         of

                                        timel)


                                        Dear            FlatRate,


                                        I'm writing               to express                  my     discontent               with      FlatRate's

                                        services,               particularly               the       Elite      Services:             ori our          move
                                        from        NYC to Boulder                         in March               I was        initially         very       hopeful
                                        about           the      Elite       Service.              However,             on     account            of the

                                        following,               I will      not       be recommending                             FlatRate--it's               Elite
                                        or Regular                   service--nor                 using   you in the                   future.    I'm writing
                                        this      in hopes                that      it cari       support    FlatRate                   in offering    what
                                        I feel          is a very           needed             service          in a better             manner.


                                        The       following                 issues         arose          in our        move:

                                        *
                                            Our         sales         guy        scheduled              us for          packing             on a Sunday,

                                        only       to notify              me a few weeks                        later        (and      two       weeks
                                        before    the             move)            that        it would         have         to be Monday.
                                        *
                                          I expected                  that        when          he changed                   the packing                date  by
                                        one       day,         the     delivery day                   would          also      be moved                 by one
                                        day.       Rather,             it was moved                    a whole           week           later.         Our sales
                                        contact            did       riot    communicate                      this      to us clearly--it                 was

                                        only       explained                 iri the       fine       print     of the        contract.             It was           easy
                                        for     me        to assume                 it would           be a 1-day                  delay,        not    a whole

                                        week:            and      so when                our    sales          contact             explained            "the
                                                                                               shifted"
                                        delivery              date        was       also                             I did    not      re-read          the
                                        contract              because               why        would          I assume              that       it would             be a
                                        whole            week         later?
                                        *
                                          Everi           after       that,        the     estimated              delivery date                   shilted

                                        constantly,                  and      our        sales       contact        was unable                    to tell           me
                                        when            our      things           would         arrive.         I understand                 that       this        is the
                                        nature            of cross-country                        moves.             However,              we     received                 a
                                        bid      from         another             company               (who          would          have        charged
                                        $1000             less       INCLUDING                      unpacking                 & organizing
                                        services               in our        new         home)          that      provided              a firm         delivery
                                        date.           Even         though             Flatrate        was          unable          to provide                Elite
                                        Service            (unpackirig                   & organizing                  ) in our new               home               I
                                                                                                                               only**
                                        chose            your services,                    **specifically                and                      because
                                        FlatRate               committed                 to delivering                 by April         1st.      Obviously,
                                        that      didn't          end        up     happening                 because              of the        week-long
                                        delay.


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            *
                When          our     things           did    arrive       we were              disappointed                    at the
            amount            of damage--especially                            with       the      $30         000        family
            heirloom     piece    that we had crated.
            *
              In addition,     there   were about  half                                  a dozen           of our           owr1
            boxes          that      were          not   included          on     our                             list--
                                                                                           inveritory
            indicating    disorganizatiori          and                        lack      of attention             to detail             in
            how our items were             categorized                            and         inventoried.
            *
              An integral     part of a $25,000                                piece       of antique                furniture
            was       missing,             and      I sperit         several          hours       on      the     phone

            trying         to locate         it.     The       driver      found          it hidden            in the           Dack
            of his truck             the     next        day      and     drove          from       Denver             to deliver
            it to us.         To his        credit,       he      refused         the      $100         tip I offered                 him
            for    returning             it. However,              again         it revealed              a level of
            disorganization                      and     lack     of care         for valuable                  pieces.
            *
               Lastly    when               I called          your      customer              service           to try to find
            the      missing             items       (which        were        also       part     of an         antique
            piece          that     is completely                irreplaceable),                 your          customer
            service  took 2 days to call me back.
            *
              A claim form was submitted    at the                                        end      of May             and        no
            response               has     been          received          whatsoever.


            All    in all,        I was     dismayed               at the        level     of poor             service
            offered          for    a service            chargirig          significaritly               higher           than
            market           rates         labeling           itself    as "Elite".             I found      it entirely
            unacceptable.                    I think         offering      firm       delivery           dates,    and

            significantly                enhanced              organization               and       attention              to

            detail,        will     help     Flatrate           provide          a service              that     meets
            expectations.




           m          A.
                                                                                                         7/8/2016
           Glen      Ridge,         NJ
                                                                I honestly            don't       recommend                      this    place         it seems         like    all
                  1 friend
                                                                they     do      is scams.              Arld     they           are     also        very     cheap      when          it
                  9 reviews
                                                                comes          to helping               you     with        The         boxes         they     charge          you     for
                  4 photos                                      everything               possible          when            I used           their     Service.       Most        of

                                                                my      things        come         back         damaged                 or missing             so I got        rob
                                                                both     ways           and      yet.      I have          never         got        my     things    back        or
                                                                replace.This                  is not       a place              you     warlt       to use




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                                          N'
                           Christy
                           Manhattan,          NY
                                                                            DOO                                     3/23/2014

                                                                         I'd used            FlatRate             for     two         moves           irl the          past       arid         had        a
                  .            0 friends
                                                                         very      positive            experience                     but     when          I recently              had         both          a
                               7 reviews
                                                                         local      and        long        haul         move           to schedule,                    each        was          really
                                1 photo                                  disappointing.                    The        overall           service            seems              to have            greatly
                                                                         diminished                 and-and                 basics           of FLAT              RATE            and       careful

                                                                         movirig          were          out       the     window.


                                                                         I was        told      less       than         24      hours          before             my       long         haul        move
                                                                         arrived         that       there          would            be an           additional              $250          fee       for       a
                                                                         shuttle         truck.         Had         I been            in a rush            for      the       move,             I could
                                                                         have         understood                  this,         but    as I specifically                      arranged                the
                                                                         move         based            on budget                 and         not     timing,           this       was          an
                                                                         unacceptable                      maneuver                   by FlatRate.                After           speaking                with
                                                                         three        representatives                        this      cost         was      waived.               However,                   3
                                                                         of the        9 items             I moved              were         broken           or seriously
                                                                         damaged                upon          arrival.           Most         signitcantly                    my        sofa        which
                                                                         was       in perfect              condition                upon        pick-up             arrived             with        three

                                                                         very      visible          tears         and        had        not even              beeri         wrapped                  in
                                                                         blankets.             I filed        a claim            and         received             a minimal                sum
                                                                         based          on     the      weight            of the            item.      I understand                      this       is the

                                                                         process,             but      if you         are       currently    looking                       for a mover                    and
                                                                         want       to compare                    reviews            perhaps     consider                           that        FlatRate
                                                                         seems           to be slipping.




           RoNn       K
           Pompano        Beach,     FL
                                                     UD                                    4/21/2017

                                                    Just     over       3 years          ago          I moved              from         NY to FL.                 I used
              67 friends
                                                    Flat     Rate       to go dowri                and       then         they         put     it in their             storage
              19 reviewS
                                                    for    a few        months,          and         firially       moved              it to my            rental
              1 photo                               apartment.              I recently            moved             again             and      could          really          see
                                                    the    contrast           between              them           and       my        new       movers.               Hence,
                                                    I am                                   this       review.             I did        insure         a few          things-
                                                              finally       writing
                                                    and     told     the     guys        from         Flat        rate       when           they       packed              me       up
                                                    that    the     most         important              thing         I owned               was       my
                                                    grandparents                 dresser,            with         a mirror            attached              and        a
                                                    beveled          piece        of marble                on top           - it all came               apart          in 3
                                                    pieces.          When          I got       to my            new       apartment                  the     marble             was
                                                    packed          in a      box       with        5 other           items,           and         of course,               it was
                                                    broken.          And         I was       heartbroken.                       They         ended           up having
                                                    me     submit           a claim          and      there         was          a huge             deductible                and

                                                    they      ended         up giving              me       $200.            For       a piece             that     had
                                                    been       worth        almost           $2000            and        will     never            be the         same.             I
                                                    couldn't        even         replace            the      marble             for that            much.
                                                    In fairness,            everythirig              else         was        in good            shape.              AII
                                                    except         forthe         one        piece         that       was        irreplaceable.




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           Kenne@      T.
                                                                    8/23/2013
           New York,   NY
                              I used      flat     rate        moving            a few        years        ago        to move            some
              197 friends
                              belongings                from      downtown                  Manhattan               to Jersey                City.        The
              667 reviews
                             cost      of the       move          was       high         but considering                     I didn't         want
              53 photos      the     move         to go         OVer an           allotted          amount             of time           I enose
                             to use       them           anyway.


                             The       time      it took         them       to load           up the          truck      was          fast      but to
                             drive      from        Manhattan               to Jersey               City      took      them           over          3
                              hours!      The           next     thing      is they           got      a parking             ticket          and         the
                              movers          forced           me to pay              for the         parking   ticket   and                     added
                              it to their        bill    when       they         charged              my credit    card.


                              I was      very       unhappy               with     the       cost       and      the     additional                  fee
                             for the      parking              ticket      which            is their       fault,      not     mine.           I didn't
                             call     to complain                about       the        parking          ticket        but      I did        call        to
                             complain            that      some           of my         items        were         damaged/missing.


                              Some       of my           expensive               dishes           and      glasses             were

                             damaged,               a box         of clothing               was       missing,           and      my          flat
                              screen          tv was           broken.       They            asked         to take           pictures           of
                             everything.                They       said     that        since        the      TV      didn't      look

                             damaged,         they weren't going to do                                      anything   but               they
                             would       contact  me about the glasses                                        and dishes                 but no
                             one       ever      called          to follow            up.




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            David        U'
                                                                          5/12/2016
            New York,         NY
                                    Avoid       at all costs             -- iterns          stolen           and      damaged              (NYC        to
                 0 friends
                                    LA move).
                 7 reviews

                 1 photo            Items       stolen:
                                    PlayStation              4 + controllers                     + games

                                    Laptop         + charger


                                    Items      damaged:

                                    Baby       grand         piano

                                    Floor-standing                speaker
                                    Miscellaneous                 other         items         (dishes               iron,     etc)


                                    I watched    a PlayStation      4 and a laptop     get sealed   in
                                                      "electronics"
                                    boxes         marked                 in NYC,  and when      opening
                                    those  boxes    on delivery     (which   had sigris   of being   re-

                                    opened   and taped       again)   the laptop   + charger     and PS4
                                    (with     games             and    controllers)                 were           gone.        If it wasn't
                                    obvious          enough            a dilTerent                kind       of tape          was     placed          over
                                    the     original.


                                    They       also     damaged                 the        lid on      a grand              piano     (the         whole
                                    unit    needs         to be replaced),                       chipped             a floor-standirig
                                    speaker           arid      damaged               various            other        iterns.


                                    It was        a $5900             move       with        $7000+                losses       and    damages.

                                    Absolutely               pathetic.




           h        S.
                                                                         12/24/2012
           Atlanta,      GA

                                   They       were       5 star        back       when       they were  new. Used     them
                39 friends
                                   for     many       moves           without          a hitch.  Last 3 years, they've
                7 reviews
                                   destroyed            my fumiture,                  PIANO               mirrors.           Always          lose
                                   fumiture          hardware             so yo can't                  put    anythirig             back     together.


                                   Essentially            this    company                  got     too       big     and      employees
                                   inexperienced                 and      untrained                kids.


                                   Sad      to see        the     quality        su1Ter.           This       time          I rIeed    to find
                                   another         company               like    what            Flatrate           used       to be       like.




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           Laum        E.
                                                                             5/1/2016
           New York,         NY

                                  Extremely                disappointing.                        Please           DO NOT use                        their
               7 frierids
                                  services.             You'll       notice             tow       quick           they        are      on getting                   back
               7 reviews
                                  to you          once        you        are       in the         process               of finding             a moving
               1 photo            company               but        after     that         youll        need          to be on top                    pf them               to
                                  get      your       updated               moving               list. Additonally,                    one          of the

                                  moving           guys          steal       one          of my         boyfriend's                  watched,                  apart
                                  from       other          furniture             that     they         broke           during          the         moving.
                                  After       that         the  money     they                    reimbursed                   me       was           only         $90
                                  and       did      not     even  investigate                         further            about         the         steal          even
                                  though           I gave           names               of the        guy         who        did     it...     It is been
                                  one       month           since          the      movirig             and        I still     did      not         receive             the
                                  check.          I also         asked            for     a manager                  to call         me        to discuss
                                  further         about          all the          incidents              we        got,       I am       also         still

                                  waiting          to talk          to someone.                       Very        Disappointing                      and           waist
                                  of money              and         time!




           Hannah           U.
                                                                             4/16/2017
           New York,         NY
                                  Never           use       FlatRate              Moving.               I tipped             each       mover             a very
               172 friends
                                  generous                 amount            only         to find           out     later      that          they      had
               4 reviews
                                  stolen          many           of my          things.           Some            of the           things       they           took
                                  were        my        garbage              can         (wtf)         a decorative                  antler,           arid         a
                                  vintage            vague           photo          that         was        very        expensive.                  FlatRate
                                  thought            that        $200        was         a reasonable                       compensation                            when
                                  it didn't        cover           anything               at all.       I am        very           disappointed.




           Dam        M.
                                                                             10/25/2015
           Boulder,         CO
                                  Flat      Rate         moved             us      in August.                A couple               of pieces                 of
               2 friends
                                  fumiture            arrived              broken.             It's    now         October             and          we've
               16 review3
                                  called          and       called          but         never          speak          to a human--we                               leave
                                  messages                  that      are        not      returned.               The        move            was       OK but
                                  Flat      Rate    pretty much   won't                                deal        with      you        unless            they're

                                  trying       to sell you something.




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           Mds          G.
                                                                         10/26/2012
           Brooklyri,        NY

                                  They      lost    a bunch              of my stulf             Disassembled                   my       bed    and
                69 friends
                                  last    the     screws          to it..    Bent     my         lamps..         .. They         charged          me
                26 reviewS
                                  alot    of money              to move         to ohio          plus     on     top      of that        im
                1 photo           missing    a bunch                of stu1T im sure         they               lost..     My boxes      had
                                  holes   in it when               they      were     supposed                  to last     for a tleast   4
                                  or five       more       moves..There               customer                  service         was
                                  horrible..        We wrote               emails     to them             and      they         never
                                  responded              for    almost        a week         arid       this     was       before         our
                                  stuff    was      picked          up..     Mugs         arid     glasses          smashed..                 Plates
                                  chipped....            Flat     rate      is by far the           WORST                MOVERS
                                  EVER!!!!          Overlook             them       and     find        other      movers            if you
                                  want      to keep            belongirigs!!!


                                  Yah!!      Now       i have        to buy         a new         bed      since         they     lost     my
                                  screws         and      they      were        special          screws          i can     never         get
                                  again         im out       of a bed!!         Thanks            FuckedRate                Movingl!!!
                                  Thanks          again...




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           I     d   R
                                                                             9/11/2014
           Los AI1geles,     CA
                                  Don't         even       think        of using               them!          AFTER                ALMOST                   A
               136 friends
                                  YEAR,            THEY           STILL            HAVE              NOT        PAID          OUR              CLAIM              FOR
               30 reviews
                                  ALL       THE          EXPENSlVE                       PIECES                THEY               BROKE.               We paid
               279 photos         extra      for      insurance,                  since         it was          a lorig            haul       to CA,            they
                                  charged             me an extra                   $700          for       what           they        call    "insurance".
                                  AII they          pieces            they        broke          had          been          CRATED,               which
                                  costs         more,          however,              they         still       managed                  to brake             the
                                  pieces           of very           experisive                fumiture.


                                  I hired        them          last     year,        "13,        in October                  for       a move           in
                                  November                 from         NJ to Califamia.                          Once            they        arrived
                                                                                                                                                   to
                                  deliver          the     furniture              and      they           uncrated                the big furtunire,
                                  we      discovered                  several            expensive                   pieces            were       broken
                                  (beyond             repair).          They         guy         in charged                  made              note         of the
                                  broken           pieces,            we      took         pictures,              he said              that     the         main
                                  office        was       going         to be            in touch             with         us, which             never
                                  happened.I                 contacted               them               it took        weeks              Defore            anyone
                                  contacted               me back,                and        said that they                       would         be sending
                                  the      claim         forms,         which             they   never    did,                    so    I followed                up
                                  agairl.        Once          they         sent         the claim     forms,                      I fiilled     them             up
                                  with      every          single           piece         they        had       broken                 or damaged                      3
                                  pages          worth         of them              with        pictures              ir1cluded.               Sent         them           to

                                  them,         but      did      not       hear         back         for weeks,                  followed             up        again,
                                  theri      the      resporided                  saying             they      were          looking            at the            claim
                                  and       would          get       back         to me,          (by       the       way          every         time           they
                                  responded,                 it's from            claims@flatrate.com,                                    without            a

                                  name,          contact             info      handling             this, or any one                           taking
                                  responsibilitiy                 of it).         Finally         after weeks    they                          responded,
                                  this time           with       a brief           email         asking              for     estimates                for
                                  "repairs"
                                                      for 5 items,                  (of the           3 page               long        damaged

                                  pieces,          they        were          asking            for      the     items         they            choose             to
                                  repair).


                                  After      discussing    it with my husband    we decided   to take a
                                  loss      on the smaller     items and just concentrate   on 4 major
                                  pieces.          A limestone                    lion     head           base         (entry            hallway)               that
                                  has       a glass          ori top          of it as a console,                            (this        was     brokeri               in
                                  half      completely.                 Our        2 marble                tops,           1 a coffee            table            and        a
                                  beatifule           console               top     I bought                at Kreiss              Collection                on
                                  Melrose             Blvd.       in L.A.,           kreiss.com,                     (were             beyond           repair,
                                  but      decided             not      to include               them,          and          have         them         a loss.
                                  But      we      did     include            a couple                of wooden                    bookcases            they
                                  complete               broke          from        the        base         agairl.          Anyhow,              I looked
                                  for     vendors            to replace              the         pieces,             even          though             they        had
                                  asked         for      "estimates                for     repair".            I sent         the         replacement
                                  pieces           costs         and        vendor             names            to them,                weeks    later
                                                                                                                                          "REPAIRED"
                                  they      told       me that              we     needed               to have              them
                                  NOT "REPLACED".                                 And          that       in order           for them             to



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            determined             to have          them              replaced,              first      we       had        to find
            someone            to reparied               them.            I tried        for weeks                to firid
            someone            to come            and       give          us an           estimate               to repair,                and
            no would          take        the     job.     I finally   asked                      Flatrate      to help
            someone            to have           the      pieces     repaired                      as      I was riot
            successful.            They          replied         weeks              later         and      said         someone
            would       be     in touch           with      us......1          AM STILL                    WAITING!!!!


            The     pieces         they   broke    are in the thousands,     we                                               still       have
            no resolution             to this, I've been    following   up, with                                              threats

            lawyer,       social          media,         and          they       still     have           not
            responded!!!!!


            DO NOT USE                    THEM,            you          will     be dissappointed                           and
            more       frustrated           than         you      can          even          imagirie,             plus        you          will
            loose      precious            pieces          that         cannot            be replaced,                    needless
            to say      your       very         valuable              time       and        be out          thousands                       of
            dollars.




           W Dat                     S'
                                                                                                                7/28/2016
           FL, FL
                                                               the        worst.          they        owed             me       money                 from      damaged                 goods
                  9 friends
                                                                and        theaccountant      said the check    was sent. so i waited                                                                          -
                  161 reviews                                                        - called   - waited - called  - waited.
                                                                still     no check                                           this
                  40 photos                                    christine                 is a total          witch          and           a liar.




           Sheridan           B.
                                                                                                             9/9/2014                 .            Updated              review
           Carnbridge,         MA
                                                               To follow                 up on        an earlier                review             of just            how       difficult
               67 friends
                                                               these           guys          were          to deal           with,          and        just      how          scammed                 I
                3 reviews
                                                               felt      in dealing                with      them...            After            a FlatRate                  move        out     of

                                                               my        apartment                   and        into    their             storage             unit,     followed              by four
                                                               months             of storage,                    I finally            get        my     stuff         out     of their         hands
                                                               to find          that        (1)      all my           clothes              in the       wardrobe                    boxes       they
                                                               provided                are        covered              with       dirt           complete              with         quarter-

                                                               sized           chunks             of asphalt                sprinkled                  throughout                   - WTF?!
                                                                                                                                                                                                      (2)
                                                               half       my      dishes             are        brokeri,              and        (3)    a side              table      that     they
                                                               had        disassembled                          and      packed                                                 - just
                                                                                                                                                 up is missing                                gone,
                                                               no more               side         table         for     me.       And            now         I cannot           get      a hold           of
                                                               anyone             at their            01Tice to inquire                          about          the         damages             or

                                                               missing              items,           despite            several                  messages                   le11. I cannot
                                                               reiterate             enough               just        how       disappointing                         their         service      was.
                                                               DO NOT USE                            FLATRATE                     MOVING.                     Terrible              people.          Just
                                                               terrible.




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                                                     8/14/2014                    . Previous              review

                       Rate"
           "Flat                      or "Complete                      Scam"??                DO NOT use                       these
           guys        for a two-part                   move            or for         storage,              because              they         will
           screw         you        over.        And          I highly            recommend                   staying           away
           from        the        sales         associate               named               Bemard.             He      likes        to
           scam.


           I booked               these         guys          for     a two-part               move           and       storage             - a

           move         into        storage,            storage              for four            months,             and       the
           move         out        of storage.                At the           time         of booking,              they         gave
           me      a ballpark               for the           second              move             but      couldr1't
           guarantee                  it because               I didn't           have        an exact               address.
           Makes             sense         - though                 I did      give         them         an exact            date         and
           an exact               zip     code.        When             I did         get     the      exact         address,              I
                                                                                                        rate"
           call       back        and      they        tell     me that               the     "flat                  is ELEVEN
           HUNDRED                      DOLLARS                     MORE              tharl      the        ballpark          they
           quoted            me       at the       time             of booking.Total                        scam,          right?


           So      I decide            to firld        altemative                   movers             to do        my      second
           move.         I do the               legwork              arid      find      some            more        honest            guys.
           Great.            Now          I'm     in the            process           of trying             to book          the       move
           out     of storage               -                                         you      need          to MAKE                AN
                                                 because,               yes,
           APPOINTMENT                             to move              your          stU11out            of their          facility           and
           PAY        THEM             for the         time          it takes          to do          so.     (Are       you        kidding
                  -                                      tell        me      that        I can't         have        the     movers
           me??)    Today  they
           pick up my stuff on                          my          chosen            day        because             their          storage

           facility      is closed                for the            last      week          of every           month.              (New
           you've            really       got      to be            kiddirig          me.)       So,        basically,            they         are

           holding            my stuff            hostage               right         now.     And          charging              me for
           it.


           Worst.            Service.            Ever.


                                   yes      - shout            out      to the           actual          movers            that
           Although,
           picked            up     my     stuff       for the            first       move.           They      were          lovely




                                                                                                                    4/23/2016
           Brooklyri,              NY
                                                                        If zero          stars        were       possible                 I would     give zero stars.    They
                   0 friends
                                                                       did        over        $1900          worth          of damage               to my furniture    and were
                   34 reviews
                                                                       defensive                 and        argumentative                       arid questioned     whether
                   1 photo                                             the        lamps          they        destroyed               were             working     before   I asked
                                                                       them           to move               them.          Do not          use        this   movirig   company.




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